          Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 1 of 81



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

Ross Hecox, individually and as next friend of                *
his minor child R.E.H,                                        *
1940 Victory Hills Way                                        *
Carroll County                                                *
Marriottsville, Maryland 21104                                *
                                                              *
Reid Hecox                                                    *
1940 Victory Hills Way                                        *
Carroll County                                                *
Marriottsville, Maryland 21104                                *
                                                              *
For themselves and for those similarly situated               *
minor individuals,                                            *
                                                              *
                               Plaintiffs,                    *
                                                              *
v.                                                            *      CASE NO:
                                                              *
DoorDash, Inc.,                                               *      JURY TRIAL DEMANDED
303 2nd Street, Suite 800                                     *
San Francisco, California 94107                               *
Serve on:       The Corporation Trust, Inc.                   *
                2405 York Road, Suite 201                     *
                Lutherville-Timonium, MD 21093                *
                                                              *
                             Defendants.                      *

                        CLASS ACTION COMPLAINT FOR
                 DECLARATORY JUDGMENT, MONETARY DAMAGES,
                INJUNCTIVE RELIEF, AND DEMAND FOR JURY TRIAL

       Plaintiffs Ross Hecox (“Plaintiff Hecox”), individually and as next of friend of his minor

child, R.E.H, and Reid Hecox (“Plaintiff R. Hecox”) (collectively “Plaintiffs), for themselves

and those similarly situated, by and through their undersigned counsel, based on their reasonable

investigation, and pursuant to Rules 17(c) and 23(b)(2) and (3) of the Federal Rules of Civil

Procedure, bring this suit as a class action seeking appropriate declaratory and injunctive relief,

and all allowable monetary damages, including reasonable attorney’s fees and costs, against and

from DoorDash, Inc. (“DoorDash”), for reasons set forth herein (the “Complaint”).
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 2 of 81



                                  NATURE OF THE ACTION

       1.       This case challenges certain fees that DoorDash imposes on consumers.

DoorDash is “an online marketplace platform using web-based technology that connects

contractors, restaurants and/or other businesses” principally to provide business-to-consumer

deliveries (“DoorDash App”). 1 With an estimated 32 million users of its technology, DoorDash

earns billions of dollars in annual revenue. 2 But DoorDash generates its revenues not only

through heavy-handed tactics that take advantage of struggling merchants and a significant

immigrant driver workforce, but also through deceptive, misleading, and fraudulent practices that

illegally deprive consumers of millions, if not billions, of dollars annually. This lawsuit details

DoorDash’s illegal pricing scheme and seeks to hold DoorDash accountable for its fraud on

consumers, including our most vulnerable segment of society, minor children.

       2.       Despite its short ten-year existence, DoorDash’s history is replete with predatory

tactics toward the contractors, merchants, and consumers using its technology platform. For

example, DoorDash retained part of the tips that consumers paid to the contracted drivers, called

“Dashers,” for their deliveries despite DoorDash’s representations that the Dashers received the

tips. DoorDash was sued for its tip retention practice. 3 While DoorDash now purportedly pays

Dashers the entire tip amount, the company still holds its Dashers’ daily compensation (including


1
  Independent Contractor Agreement - United States, DoorDash Dashers, DOORDASH (Jan.
2022), https://help.doordash.com/legal/document?type=dx-ica&region=US&locale=en-US
(citing recitals).
2
 David Curry, DoorDash Revenue and Usage Statistics (2023), BUSINESS OF APPS (Feb. 20,
2023), https://www.businessofapps.com/data/doordash-statistics/.
3
 See AG Racine Reaches $2.5 Million Agreement with DoorDash for Misrepresenting that
Consumer Tips Would Go to Food Delivery Drivers, OFFICE OF THE ATTORNEY GENERAL FOR
THE DISTRICT OF COLUMBIA (Nov. 24, 2020), https://oag.dc.gov/release/ag-racine-reaches-25-
million-agreement-doordash#:~:text=In%20a%20November%202019%20lawsuit,
DoorDash's%20payments%20to%20its%20workers.

                                                  2
          Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 3 of 81



tips) on each order for a week, despite having the ability to pay them immediately. If the drivers

want to receive their earned compensation daily, Dashers must pay DoorDash a “Fast Pay” fee to

release the funds daily. 4 With reportedly two million Dashers performing deliveries, 5 DoorDash

stands to make millions in interest by holding its drivers’ compensation weekly and then stands

to make millions more by charging drivers a Fast Pay fee to receive funds those drivers already

earned. Targeting immigrants to work as drivers, 6 DoorDash knows many Dashers are forced to

pay the Fast Pay fee because they lack resources and need money desperately. DoorDash then

leverages the drivers’ desperation (by implementing the weekly hold period and levying the

“Fast Pay” fee) to force the Dashers to participate in its DasherDirect program. Under the

DasherDirect program, DoorDash pays its drivers their compensation daily with “no fee,” but

does so through a direct deposit on a VISA debit card that Stride Bank underwrites. 7 Stride Bank

then pools the Dashers’ funds and “deposit[s] those funds at one or more FDIC insured banks”

for investment purposes. 8 DoorDash, in effect, controls most of its drivers’ funds for much


4
 See Independent Contractor Agreement - United States, DoorDash Dashers, DOORDASH (Jan.
2022), https://help.doordash.com/legal/document?type=dx-ica&region=US&locale=en-US.
5
 See Tyler Philbrook, DoorDash Statistics: Revenue, Usage Statistics & More, THE RIDESHARE
GUY (Mar. 15, 2023), https://therideshareguy.com/doordash-statistics/.
6
  See, e.g., DoorDash, FACEBOOK (Sept. 6, 2022, 12:23 PM), https://www.facebook.com/
DoorDash/; Kimiko de Freytas-Tamura, Food delivery apps are booming, while their workers
often struggle., N.Y. TIMES (Nov. 30, 2020), https://www.nytimes.com/2020/11/30/world/food-
delivery-apps-are-booming-while-their-workers-often-struggle.html; see also Claudia Irizarry
Aponte, DoorDash Wanted to Teach Delivery Workers About Their Rights. It Backfired., THE
CITY (July 31, 2022, 7:00 PM EST),
https://www.thecity.nyc/queens/2022/7/31/23284495/doordash-immigrant-groups-workers
(noting that immigrant drivers accused DoorDash of stealing their money).
7
 See DoorDash Dasher Support, Introduction to DasherDirect, DOORDASH,
https://help.doordash.com/dashers/s/article/Introduction-to-DasherDirect?language=en_US (last
visited Apr. 14, 2023).
8
 See DASHERDIRECT CARDHOLDER AGREEMENT (Mar. 16, 2023), https://payfare.github.io/
doordash/en-us/assets/documents/dasherdirect-cardholder-agreement.pdf.

                                                 3
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 4 of 81



longer than a week. Upon information and belief, DoorDash then earns more money under the

DasherDirect program on its share of fees generated from the invested drivers’ funds and their

debit card usage than DoorDash would earn by charging drivers only for Fast Pay fees.

       3.       DoorDash engages in a similar pay scheme with restaurants. DoorDash represents

that it is neither “a restaurant” nor in “the food preparation businesses,” 9 but DoorDash still takes

food orders from consumers, collects their payments, and retains a portion of each consumer

payment as a hidden “commission” on each order. DoorDash then holds its restaurants’ earnings

on each order for a week unless the restaurants either (1) pay to receive their earned funds

earlier, 10 or (2) enroll in a premium service with higher commissions to receive those funds daily

“without charge.” 11 DoorDash again stands to make millions in interest during the hold period;

millions more in fees by charging restaurants to receive funds daily that they already earned; and

millions more from charging higher commissions that restaurants pay to receive their daily

earnings “without charge.” Because DoorDash’s hidden commissions (which include hidden

marketing and credit card transactions fees) reduce profit margins on food orders, restaurants

must increase their prices. 12 In effect, DoorDash earns millions, if not more, strong-arming

drivers and merchants (and forcing them to capitulate to DoorDash’s questionable billing

tactics), while consumers bear the unsettling burden of the increased cost from the hidden fees.



9
 See Independent Contractor Agreement – United States, DoorDash Dashers, DOORDASH (Jan.
2022), https://help.doordash.com/legal/document?type=dx-ica&region=US&locale=en-US.
10
   See DoorDash Merchant Support, What is Merchant Daily Payouts?, DOORDASH,
https://help.doordash.com/merchants/s/article/Daily-Pay-FAQ?language=en_US (last visited
Apr. 14, 2023).
11
  See id.; see also Products and Pricing, DOORDASH FOR MERCHANTS, https://get.doordash.
com/en-us/products (last visited Apr. 14, 2023).
12
 DoorDash Merchant Support, Level Pickup Pricing, DOORDASH, https://help.doordash.com/
merchants/s/article/What-is-level-pickup-pricing?language=en_US (last visited Apr. 14, 2023).

                                                  4
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 5 of 81



       4.       DoorDash’s consumer-facing, predatory pricing practices are unsettling in several

other respects. First, DoorDash charges consumers “city” or regulatory response fees, creating

the illusion for consumers that local governments impose these fees. DoorDash engages in this

deceptive practice in part to circumvent limitations on food commissions in certain areas. Cities

have sued DoorDash for imposing these unauthorized fees. 13 Second, DoorDash disavows that it

provides any delivery service whatsoever, but still charges consumers a range of delivery fees.

Third, DoorDash disavows that it controls the manner and means of delivery routes, but still

charges consumers an “express” or “priority” fee for delivering “direct to you.” DoorDash

promises this “direct to you” service without ever informing Dashers (who may deliver for

companies besides DoorDash) that the DoorDash consumers paid for a priority delivery that is

advertised as going directly to them. As a result, these “express” delivery orders average around

the same delivery time as standard orders. Finally, DoorDash charges consumers an “expanded

range delivery” fee on orders “outside of [their] normal delivery area,” but DoorDash never

creates “normal delivery areas” for each consumer. Rather, DoorDash creates delivery areas

around restaurants based on the restaurants’ service level plan (meaning how much they pay

DoorDash). And DoorDash will send certain consumers’ orders (like low-cost McDonalds

orders) to restaurant locations further from the consumer’s home (bypassing closer locations),

triggering the expanded range fee and “justifying” increased delivery costs. Moreover, DoorDash

disingenuously applies the expanded range fee on DashPass accounts, which are consumer


13
   See Mary Anne Pazanowski, DoorDash Must Defend Chicago’s Consumer Deception Lawsuit
(1), BLOOMBERG LAW (Mar. 10, 2022, 9:40 AM, updated Mar. 10, 2022, 3:40 PM),
https://news.bloomberglaw.com/litigation/doordash-must-defend-chicagos-consumer-deception-
lawsuit; Ashok Selvam, As Chicago’s Lawsuits Versus DoorDash and Grubhub Proceed, San
Francisco May Settle, EATER CHICAGO (July 28, 2022, 1:45 PM CST), https://chicago.eater.com/
2022/7/28/23277908/chicago-doordash-grubhub-lawsuit-delivery-company-update-san-
francsico-settlement.

                                                5
             Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 6 of 81



accounts that pay DoorDash a flat monthly fee to receive discounted delivery fees. If a DashPass

account and a standard account place the same order at the same time from the same restaurant to

be delivered to the same home, DoorDash occasionally will charge the DashPass account (but

not the standard account) an “expanded range fee.” Upon information and belief, DoorDash

charges DashPass accounts the expanded range delivery fee to subsidize lost revenues from

discounted fees under the DashPass program.

        5.       A critical part of DoorDash’s deception is its misleading “explanations” of its fees

in oddly placed informational tabs that are designed to dissuade consumers from seeking more

details about those charges. The consumer can only find “more details” about the fees by piecing

together DoorDash’s statements in its legal terms and other admissions buried in various places

in its website. Each of DoorDash’s illegal pricing practices not only violates a multitude of state

and federal laws, but also deprives consumers of millions, if not billions, of dollars annually.

        6.       DoorDash retains all ill-gotten consumer payments from the delivery-related fees.

These fees are unquestionably deceitful, deceptive, and misleading given DoorDash vehemently

denies that it provides any delivery service, while charging consumers a premium for deliveries

it does not perform. Instead, DoorDash charges the “delivery” fees to make the “service fee” that

it charges to “operate” its technology appear smaller. After all, as even DoorDash concedes in

obscure fine print, it “has no obligation to itemize its costs” under different categories of fees. 14

Rather, DoorDash uses this deceptive practice to trick consumers into believing Dashers receive

the “delivery-related” fees when, in reality, each and every “delivery fee” is retained in total by

DoorDash. If DoorDash in fact bundled all its delivery fees into one large service fee, that


14
  See Consumer Terms and Conditions – United States (Including Puerto Rico), DOORDASH ¶
12(a) (Feb. 3, 2023), https://help.doordash.com/legal/document?type=cx-terms-and-
conditions&region=US&locale=en-US.

                                                   6
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 7 of 81



practice would raise questions in a consumer’s mind about whether the cost of using DoorDash’s

platform is truly worth it. In other words, DoorDash utilizes a psychologically manipulative

pricing structure to strategically mislead and deceive consumers into using the technology

platform at a much higher, premium cost. DoorDash further manipulates consumers through

“estimated” delivery windows. The delivery windows advertised before an order is placed are

usually five to seven minutes less than actual delivery windows (shown immediately after an

order is placed). The consistent difference between the advertised and real delivery windows

suggests that DoorDash uses an algorithm to set shorter advertised delivery windows to mislead

consumers into believing orders will be delivered sooner—another example of manipulation.

       7.       Far worse, DoorDash directly targets minor children as part of its deceptive and

deceitful scheme. DoorDash engages in advertising campaigns on television and in social media

(like its Sesame Street campaign) that encourage minors to use its service. DoorDash does

nothing to discourage the Play Store from advertising the DoorDash App as “E” for Everyone, or

the Apple App Store from advertising it as “12+”, or otherwise restrict minors from downloading

the DoorDash App. Nor does DoorDash use any age verification to prohibit minors from using

its technology despite having the capabilities to do so. In fact, the DoorDash App has no parental

controls whatsoever, making it so easy for a child to use the platform that a two-year old ordered

thirty-one hamburgers on the app. 15 And Dashers deliver to children at their high schools so

frequently that some schools set up delivery tables outside for student orders, while others were

forced to ban deliveries because they became disruptive and created security risks. As a result,




15
 Good Morning America, 2-year-old orders 31 cheeseburgers via DoorDash after taking
mom’s phone, YOUTUBE (May 19, 2022), https://www.youtube.com/watch?v=Bk2vLDGJ2rw.

                                                 7
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 8 of 81



our most vulnerable population, minor children, falls prey to DoorDash’s predatory pricing

practices when ordering from the on-demand service. But DoorDash does not care.

       8.       DoorDash believes it is effectively bulletproof against consumer claims because

of its Terms and Conditions—the foundation of its illegal pricing practices. DoorDash’s Terms

and Conditions transform recognized liability avoidance into illegal liability evasion. The Terms

and Conditions strip consumers of recognized protections, by: forcing consumers to waive their

right to trial; requiring them to pursue claims against DoorDash in secret arbitration (which also

deprives the public of the ability to learn about DoorDash’s illegal practices); prohibiting them

from exercising their right to proceed as a class; reducing the statute of limitations for applicable

claims from years to mere months; obligating consumers to indemnify DoorDash for all liability;

and restricting consumers’ right to certain relief, including injunctive relief that could prohibit

DoorDash from continuing its illegal practices. Relying on the fact that hungry consumers will

likely fail to notice, read, or understand the complex terms and conditions, DoorDash buries its

use of highly deceptive strikethrough pricing and bait and switch billing practices in pages of

legalese. With these terms of adhesion in place (coupled with the nominal cost of each consumer

transaction, and virtually no exposure from its drivers or merchants given their own similarly

restrictive contracts), DoorDash acts with impunity in its charging practices.

       9.       DoorDash believes it has created the perfect predatory pricing scheme—one in

which it holds all the money while consumers, merchants, and drivers hold all risk of higher

prices and liability. In effect, DoorDash uses its Terms and Conditions as a shield and a sword to

carry out its deception. DoorDash uses its Terms and Conditions as a sword against consumers

by subjecting them to fraudulent prices and fees for services it neither performs nor provides,

because DoorDash mistakenly believes consumers tacitly agreed to its shady practices under the



                                                  8
          Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 9 of 81



terms, thereby making them legally permissible. DoorDash then uses the same Terms and

Conditions to shield DoorDash from exposure through indemnification provisions, liability

limitations, forced acknowledgments and waiver of rights. The results: DoorDash believes a

consumer can only sue in secret arbitration, on an individual basis with a six-month statute of

limitations and cannot stop DoorDash from continuing its devious practices through injunctive

relief. But DoorDash’s beliefs are based on a fundamentally flawed position.

       10.     DoorDash believes its Terms and Conditions represent an enforceable contract

with consumers, but that is wrong for at least three reasons. First, DoorDash’s purported contract

lacks an offer, acceptance, sufficient consideration, mutual assent, and a meeting of the minds—

basic contract elements. Unlike with a clickwrap (or scroll wrap) agreement, consumers using

the DoorDash platform never affirmatively acknowledge that their use of the platform creates a

binding contract. And unlike with a sign-in-wrap agreement, DoorDash’s sign-up language is not

reasonably conspicuous. Even so, that language fails to generate sufficient inquiry notice that

consumers should read the Terms and Conditions and will be bound by them contractually when

creating an account. Second, because DoorDash’s Terms and Conditions represent a contract of

adhesion, consumers must agree affirmatively to be bound by them. But DoorDash tries to have

consumers manifest their assent to agree by clicking a button whose primary purpose is not

accepting the oppressive contract terms but performing the completely separate action of simply

signing up to use the technology platform. Third, DoorDash’s purported contract does not apply

to minor children. Minors lack the capacity to contract, and DoorDash’s Terms and Conditions

disaffirm any contract with a minor. Absent an enforceable contract, DoorDash must answer for

its actions before this Court with respect to its delivery fee, priority delivery fee, expanded range

delivery fee, hidden marketing fee, and hidden commission fee.



                                                  9
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 10 of 81



       11.     DoorDash engages in a fraudulent scheme to charge and collect misleading,

premium, and hidden fees from consumers for deliveries that DoorDash does not perform and for

food that DoorDash does not sell. This lawsuit seeks to end this dubious practice. Plaintiffs, for

themselves and a nationwide class of individuals, including minors, now sue DoorDash for its

predatory pricing practices that cost consumers hundreds of millions (if not billions) of dollars

each year. In doing so, Plaintiffs seek the appropriate declaratory and injunctive relief and

monetary damages of no less than $1,000,000,000.00 (One Billion Dollars) on behalf of various

classes of consumers who fell prey to DoorDash’s illegal pricing scheme.

                                         THE PARTIES

       12.     Plaintiff Hecox is a citizen of the State of Maryland and a resident of Carroll

County. He is the father of Plaintiffs R. Hecox, and R.E.H. Plaintiff Hecox is a divorced, single

parent who must ensure that his children are fed when in his care, while also balancing his work

responsibilities and shuttling his children to school and sporting activities. Like many parents, he

relies on the on-demand food delivery market to help. Plaintiff Hecox is a consumer and user of

DoorDash. He signed up for DoorDash and established an account in his own name; used the

delivery service to place and receive orders; and was charged and paid a misleading, deceptive

and/or fraudulent delivery fee, priority or express delivery fee, marketing fee, food commission

fee, and/or expanded range delivery fee. Plaintiff Hecox was also a DashPass member. The vast

majority, if not all, of Plaintiff Hecox’s transactions with DoorDash occurred within the State of

Maryland. When he signed up for DoorDash, he did not know of the Terms and Conditions.

       13.     Plaintiff R. Hecox is a citizen of the State of Maryland and a resident of Carroll

County. Plaintiff R. Hecox turned 18 years old in January 2023 and he was a consumer and user

of DoorDash. Before reaching the age of majority, he established a DoorDash account in his own



                                                 10
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 11 of 81



name; used the food ordering platform to place and receive orders under his own account; and

was charged and paid a misleading, deceptive and/or fraudulent delivery fee, priority or express

delivery fee, marketing fee, food commission fee, and/or expanded range delivery fee. The vast

majority, if not all, of R. Hecox’s transactions with DoorDash occurred within the State of

Maryland. When he signed up for DoorDash, he did not know of the Terms and Conditions.

        14.     Plaintiff R.E.H. is a citizen of the State of Maryland, a resident of Carroll County

and under the age of 18. He was a consumer and user of DoorDash, who established an account

with DoorDash in his own name; used the DoorDash platform to place and receive orders; and

was charged and paid a misleading, deceptive and/or fraudulent delivery fee, expedited or

express delivery fee, marketing fee, food commission fee, and/or an expanded range delivery fee.

The vast majority, if not all, of Plaintiff R.E.H.’s transactions with DoorDash occurred in

Maryland. When he signed up for DoorDash, he did not know of the Terms and Conditions.

        15.     Plaintiffs bring this case as a class action pursuant to Fed. R. Civ. P. 23(b)(2) and

23(b)(3) on behalf of themselves and all others similarly situated as defined below in paragraphs

100 through 110. As used herein, the term “Plaintiffs” refers to both the named Plaintiffs and to

members of the proposed Class and Subclasses.

        16.     Defendant DoorDash is incorporated in the State of Delaware and has its principal

place of business in the State of California and therefore, for diversity jurisdiction, is a citizen of

both states. Defendant DoorDash conducts business in Maryland. DoorDash is a technology

company that does not prepare or sell food and, thus, DoorDash, the DoorDash platform, and its

associated technology, is not a necessity.




                                                  11
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 12 of 81



                                 JURISDICTION AND VENUE

       17.     This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005 and 28 U.S.C. § 1332 because there are over 100 members of the

proposed class, at least one member of the proposed class has different citizenship from the

Defendant, and the total amount in controversy exceeds $5,000,000.

       18.     DoorDash is subject to this Court’s exercise of in personam jurisdiction because:

(a) DoorDash transacts business or performs any character of work or service in the State;

(b) DoorDash contracts to supply food services in the State; and (c) DoorDash has caused

tortious injury in the State by an act or omission in the State.

       19.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

events or omissions giving rise to the claim occurred in the District of Maryland.

       20.     Venue is also proper pursuant to 28 U.S.C. § 1391(c) because DoorDash is

subject to the Court’s personal jurisdiction regarding this action.

                            COMMON FACTUAL ALLEGATIONS

                I.      DOORDASH’S NOBLE BEGININGS AND GROWTH

       21.     DoorDash began in 2012 as PaloAltoDelivery.com (“Palo Alto Delivery”) when

four Stanford University students established a website designed to provide delivery services for

local restaurants. Unlike others, Palo Alto Delivery provided its own delivery force so

restaurants could outsource deliveries to Palo Alto Delivery rather than develop a delivery arm

themselves. Palo Alto Delivery’s success quickly attracted investors. The company rebranded as

DoorDash in 2013, shifting its focus to developing technology that assists business-to-consumer

deliveries in the on-demand delivery market.




                                                  12
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 13 of 81



       22.     The on-demand food delivery industry predominately impacts the country’s most

financially vulnerable populations. A nationwide research study conducted by Zion & Zion

reveals the largest user markets for online delivery food services are the young and the poor. 16

Over the past ten years, the on-demand food delivery market enjoyed steady revenue increases

before exploding in popularity during the pandemic in 2020. In 2018, the on-demand food

delivery market represented a healthy $82 billion in gross revenues and is projected to exceed

$200 billion by 2025. 17 The growth in this market is rapid.

       23.     DoorDash has experienced a similar rapid growth. By late 2018, DoorDash had

overtaken Uber Eats as the country’s number two delivery service and was closing fast on

number one GrubHub. According to one source, DoorDash controlled thirty-five percent of the

on-demand food delivery market in the United States by September of 2019. The company had a

more than fifty-nine percent monthly market share in March 2022. 18 And DoorDash’s monthly

market share rose from 59% in March 2022 to 65% in February 2023, less than a year later.




16
  See Aric Zion & Thomas Hollman, Usage and Demographics of Food Delivery Apps, ZION &
ZION (2019), https://www.zionandzion.com/research/food-delivery-apps-usage-and-
demographics-winners-losers-and-laggards/.
17
  See $9.6 Billion in Investments Spurring Aggressive Expansion of Food Delivery Companies,
FROST & SULLIVAN (Oct. 25, 2019), https://www.frost.com/news/press-releases/9-6-billion-in-
investments-spurring-aggressive-expansion-of-food-delivery-companies/.
18
  Tom Kaiser, U.S. Delivery Sales, DoorDash Share Still Growing, FOOD ON DEMAND (Apr. 28,
2022), https://foodondemand.com/04282022/u-s-delivery-sales-doordash-share-still-growing/.

                                                13
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 14 of 81



       24.     DoorDash’s initial public offering was in December 2020, which raised $3.37

billion and in turn gave DoorDash a valuation that exceeded $70 billion. 19 The IPO made

billionaires out of the three DoorDash founders, Tony Xu, Andy Fang, and Stanley Tang.

       25.     During 2020 and 2021, in the height of the COVID-19 pandemic, DoorDash grew

significantly. DoorDash had $2.9 billion revenue in 2020, which skyrocketed to $4.9 billion in

2021. DoorDash’s trend of significantly higher year-over-year revenue and gross order value

continued through 2022, reaching $6.6 billion. 20

       26.     In 2021, DoorDash had 25 million active users, most in the United States, an

increase of twenty-five percent over 2020. DoorDash reported delivering 1.4 billion orders in

2021, which grew to 1.7 billion orders in 2022. 21 As of 2022, DoorDash has about 450,000

active monthly merchants and controls around fifty-seven percent of the on-demand food

delivering market. 22

                             II.     HOW DOORDASH WORKS

       27.     DoorDash is “an online marketplace platform using web-based technology that

connects contractors, restaurants and/or other businesses, and consumers [ ]. [DoorDash]’s

software permits registered users to place orders for food and/or other goods and services from



19
   Erin Griffith, DoorDash Soars in First Day of Trading, N.Y. TIMES (Dec. 9, 2020, updated
Mar. 19, 2021), https://www.nytimes.com/2020/12/09/technology/doordash-ipo-
stock.html#:~:text=DoorDash%20stock%20rose%2086%20percent,and%20Chipotle%20Mexica
n%20Grill%20combined.
20
   Daniela Coppola, Annual revenue of DoorDash from 2019 to 2022, STATISTA (Mar. 22, 2023),
https://www.statista.com/statistics/1294498/doordash-annual-revenue/.#:~:text=In%202021%
2C%20DoorDash%20generated%20revenues,2013%20in%20Palo%20Alto%2C%20California.
21
   Gennaro Cuofano, DoorDash Orders, FOURWEEKMBA (Feb. 20, 2023),
https://fourweekmba.com/doordash-orders/.
22
  Brian Dean, How Many People Use DoorDash in 2022? [New Data], BACKLINKO (June 29,
2021), https://backlinko.com/doordash-users.

                                                14
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 15 of 81



various restaurants and businesses. Once such orders are made, [DoorDash’s] software notifies [a

network of independent] contractors that a Delivery Opportunity is available and the [DoorDash]

software facilitates completion of the delivery.”23 See illustration below.




A.     Signing Up to Use the DoorDash Platform

       28.     Consumers, including minor children, who want to have food or other goods and

services delivered anywhere—whether to their home, office, hotel, ballpark or elementary,

middle, or high school—can access DoorDash in either of two ways: (1) through its website,

www.doordash.com, or (2) through the DoorDash App, which is available either through the

Apple App Store or Google Play. The website and the DoorDash App (herein “DoorDash

platform”) present a virtually identical user experience when registering to use the DoorDash

technology.

       (1)     Signing up on Doordash.com
       29.     Logging onto www.doordash.com, a user sees a delivery address sign-in box in

the center top of the home page and a “sign-in” tab for returning customers or “sign-up” tab for


23
   Independent Contractor Agreement - United States, DoorDash Dashers, DOORDASH (Jan.
2022), https://help.doordash.com/legal/document?type=dx-ica&region=US&locale=en-US
(citing recitals).

                                                 15
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 16 of 81



new customers in the upper right-hand corner of the page. Either the address box or sign-in/up

tabs will allow a user to begin the process of accessing the platform. See illustration below.




       30.     If the first-time user clicks on “sign-up,” a prompt appears. This sign-up prompt

seeks basic personal information like the user’s first and last name, an email address, a telephone

number, and a password. The sign-up prompt also allows the user to continue the sign-up process

through Google, Facebook, or Apple. There are no prompts or fields requesting that the user

verify his or her age. Nor does the website have any language urging consumers to read the

Terms and Condition or indicate that signing up or otherwise using the website platform binds

consumers or creates a contract that waives important rights. After completing the requested

information, a first-time user clicks on “sign up” and that user is now registered. But presently

located above the large, red sign-up button (in smaller, less prominent font) is inconspicuous

language that reads: “By tapping ‘Sign Up’ or ‘Continue with Google, Facebook, or Apple,’”

you agree to DoorDash’s Terms and Conditions and Privacy Policy.” See illustration below.




                                                16
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 17 of 81




       31.    Upon information and belief, as recently as several months ago in January 2023,

that same less prominent language was buried at the bottom of the sign-up prompt obscured by

other large sign-up icons for Google, Facebook, and Apple. See illustration below.




                                               17
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 18 of 81



       32.     If a first-time user scrolls down the home page without providing an address or

signing-in or signing-up, that user can learn about becoming a Dasher, a partner restaurant or

downloading the DoorDash App. See illustration below.




       33.     Scrolling down the home page further, the user can find restaurants. See

illustration below.




       34.     Clicking the “find restaurant” tab will take the user to a “Restaurant near me”

landing page. Upon information and belief, the website uses location information embedded in

the user’s computer or mobile device to identify nearby restaurants. The sign-in and sign-up

buttons remain in the upper right-hand corner and the enter a delivery address is on the upper

left-hand side. See illustration below.

                                                18
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 19 of 81




       35.     If you click on a specific restaurant, like Shake Shack for example, a new page

loads forcing the user to enter his/her/their address for delivery. See illustration below.




       36.     When you enter an address, a new page will load informing the user whether the

identified restaurant is within the restaurant’s delivery area. If the address is outside the

restaurant’s delivery area, the user is given the option to change the address, change the order to

pick-up or view other nearby restaurants. 24 See illustration below.

24
  The addresses and other confidential information listed in all screenshots have been redacted
for privacy.

                                                  19
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 20 of 81




       37.     Selecting “view other nearby restaurants” allows the user to pursue a variety of

locations by specific food type and other categories of organization in what is called the

DoorDash marketplace. See illustration below.




       38.     You can then select a specific restaurant to view its menu and select a food item

to add to the cart. See illustration below.




                                                20
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 21 of 81




       39.     Once the menu item is added, you can checkout in the upper right-hand corner of

the page. See illustration below.




       40.     Selecting checkout takes you to a page on which you can add your payment

method in the upper right-hand corner or sign-up or sign-in or proceed with an email address.

Nowhere on this page is there any reference to Terms and Conditions or any notice that by

continuing the user assents to a contract with DoorDash. See illustration below.

                                               21
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 22 of 81




       41.     When entering an email address for a first-time user, a prompt appears instructing

the individual to “sign-in” to an existing account or “sign-up” or “create an account” to use

DoorDash. The Terms and Conditions are not referenced on this page. See illustration below.




       42.     By clicking “create an account” or “sign-up,” the first-time user is taken to a sign-

up page (similar to the sign-up prompt when selecting sign-up on the home page after logging

onto doordash.com). Indeed, this sign-up page seeks the same basic personal information, i.e.,



                                                22
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 23 of 81



the user’s first and last name, an email address (which is already populated), a telephone number

and requests a password. The sign-up page also allows the user to continue the sign-up process

through Google, Facebook, or Apple. Nowhere on the page is there any language that signing up

creates a contract or waives rights. But above the red sign-up button, in smaller font, is language

that reads, “By tapping ‘Sign Up’ or ‘Continue with Google, Facebook, or Apple,’ you agree to

DoorDash’s Terms and Conditions and Privacy Policy.” Upon information and belief, DoorDash

previously located this same language at the bottom of the page beneath the various large sign-up

icons (like illustration in paragraph 31) until it recently moved the location of the language. After

filling in the requested information, that first-time user clicks on “sign up” and that user is now

registered. There are no prompts or fields requesting that the user verify his or her or their age.




       (2)     Signing Up on the DoorDash App

       43.     You can access the DoorDash App by downloading it from the Play Store, Apple

Store, or from DoorDash’s website. Once the app is downloaded and opened, users on either the

IOS/Apple or Android/Samsung mobile platforms engage in a virtually identical registration

experience. In effect, a returning user can sign into DoorDash, and a first-time user is able to
                                                 23
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 24 of 81



sign-up for DoorDash or continue as a guest. For IOS/Apple and Android/Samsung mobile

platforms, there is language on the app’s initial landing screen in smaller font near the bottom of

the page obscured by much larger colorful icons that reads, “By tapping ‘Sign Up’ or ‘Continue

with Google, Facebook, or Apple,’ you agree to DoorDash’s Terms and Conditions and Privacy

Policy.” The words “Terms and Conditions and Privacy Policy” appear in an even smaller font

on the IOS/Apple platform. There is no language on this page urging consumers to read the

Terms and Condition or warning them that signing up or otherwise using the DoorDash App

binds consumers or creates a contract that waives important rights. If you elect to sign-up or

sign-in using Google, Facebook, or Apple, the user is redirected without further prompts. See

illustrations below.




                         APPLE/IOS                                      ANDRIOD/SAMSUNG

       44.     If the user selects continue with email, a sign-in/sign-up screen will appear.

Toggling to the sign-up prompt, a user must enter the same personal information consisting of

his or her first and last name, an email address, a telephone number, and a password. The sign-up

prompt also allows the user to continue the sign-up process through Google, Facebook, or Apple.


                                                24
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 25 of 81



After filling in the requested information, a first-time user clicks on “sign up” and that user is

now registered. There are no prompts or fields requesting that the user verify his or her age or

even acknowledge that the user is over 18 years old. Nor does the app have any language urging

consumers to read the Terms and Conditions or noting that signing up or otherwise using the

DoorDash App binds consumers or creates a contract and waives important rights. But above the

large red sign-up button is the same less prominent language that reads, “By tapping ‘Sign Up’

or ‘Continue with Google, Facebook, or Apple,’” you agree to DoorDash’s Terms and

Conditions and Privacy Policy.” Upon information and belief, this same language used to be

located at the bottom of the page beneath the various large sign-up icons (like illustration in

paragraph 31) until DoorDash moved the location of the language earlier in 2023. See

illustrations below.




                                                 25
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 26 of 81



       45.     If the user continues as a guest, the user will be prompted to provide an address

and then is allowed to browse restaurants, select menu options to be added to the cart, and then

can proceed to checkout. Before continuing to check out, however, the app prompts the guest

user to create an account with the same sign-up requirements as those launched from the initial

screen when opening the DoorDash App and selecting sign-up. See illustrations below.




       (3)     Signing-up on the DoorDash Platform Present the Same Concerns

       46.     As the above review reflects, DoorDash does not use a scroll-wrap or clickwrap

agreement, which require a consumer to review the contract terms and/or click a box with


                                                26
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 27 of 81



language such as “I Agree” to become contractually bound before using the website. Of course,

DoorDash insists on using a clickwrap agreement with its merchants. Kathy Zhu, DoorDash’s

former Senior Director and Associate General Counsel Commercial and Legal Operations,

tasked with contracting, said DoorDash “knew we wanted a clickwrap contract” for DoorDash’s

merchant relationship “to be a lot more precise.” 25 She equivocated on DoorDash’s consumer

contracts stating, “in the B-to-C world [business to consumer], it’s usually ok legally speaking to

deal with all of your customers more or less in the same way.” 26 “Usually ok legally speaking,

more or less” is hardly a ringing endorsement of enforceability from DoorDash’s then chief

“contract counsel.” But her equivocation about enforceability is indeed apt.

           47.   DoorDash’s wrap agreement presents several concerns. First, DoorDash located

its notice language inconspicuously at the bottom of its sign-up page away from the sign-up

button as reflected in the illustration in paragraph 31. That language remains in that same place

for customers initially signing-up through Google, Apple, or Facebook as reflected in the

illustrations in paragraphs 43 through 45. Rather than provide a notice next to each sign-up

button or a prompt that informed consumers about the notice after clicking one of the sign-up

buttons, DoorDash located the sign-up notice at the bottom of the sign-up page after consumers

scrolled through the sign-up options. But DoorDash recently moved the location of that language

closer to the sign-up button as reflected in those same paragraphs. Regardless of where the sign-

up notice is located, the notice language is still deficient. The language is neither prominent,

informs consumers they should read the daunting and intimidating Terms and Conditions, nor

informs them that they will be “bound” contractually when creating a DoorDash account. As a


25
  How DoorDash Creates Self-Service Restaurant Partnership Contracts Using Clickwrap,
IRONCLAD (1:26-1:58), https://ironcladapp.com/customers/doordash/ (last visited Apr. 14, 2023).
26
     Id.

                                                 27
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 28 of 81



result, at a minimum, the language does not generate sufficient inquiry notice about DoorDash’s

oppressive Terms and Conditions. Consumers, like Plaintiffs, therefore, never manifest their

assent to DoorDash’s Terms and Conditions.

           48.   DoorDash’s approach to minimizing the sign-up process is intentional. As its

former contract counsel Zhu noted in an interview, DoorDash’s priority is “speed” and

“efficiency.” 27 She did not mention legal compliance. Instead of attempting to comply with the

law, DoorDash created a “contracts playbook” with talking points and even “fallback positions”

about the enforceability of their agreements. 28 Here, DoorDash achieves speed and efficiency by

skipping steps in its sign-up process that would ensure users received a definitive offer, a clear

mode of acceptance, supported by sufficient consideration and mutual assent.

B.         Using DoorDash’s Technology

           49.   After signing up, a consumer may place orders on DoorDash. Whether using

DoorDash on its website or on the DoorDash App, the user experience is virtually the same. The

intuitive nature of DoorDash’s technology makes it easy to use.

           50.   After launching the app or website, consumers are presented with categories of

merchants and below that types of food in the DoorDash marketplace. By scrolling down the

page, a consumer can see restaurants and merchants organized under various categories such as

“nearby” or “wallet friendly” or “try something new.” See illustration below.




27
  Lawtrades, #6 - DoorDash Head of Commercial Kathy Zhu on Staying Nimble Despite
Bandwidth Constraints, YOUTUBE (11:51) (Dec. 17, 2020), https://www.youtube.com/
watch?v=ZWXbc6HCBwg.
28
     Id.

                                                 28
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 29 of 81




       51.     To place an order, a consumer need only select a restaurant, like Chick-fil-A, and

then browse its menu, scrolling down the page to view the various items and then touching on

the menu items and adding it to your cart. You continue adding items to your cart until the

consumer is finished, at which point the consumer views the cart screen to see a populated list of

what is in the cart. Scrolling to the bottom of the cart screen, the consumer can see a summary of

charges which typically consist of a subtotal for food, a delivery fee, a service fee, and taxes.

When completed, a consumer presses continue, which will take the consumer to a screen with

delivery time options (which include express, standard, or scheduled). The delivery time window

advertises how long it will take for the order to reach the consumer. Scrolling further down the

page, a consumer can review his or her contact information, instructions on delivery, and a

summary of the order costs. See illustrations below.




                                                 29
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 30 of 81




       52.     After selecting the delivery window, and confirming the contact information, a

consumer can click the “next” button to proceed with the order. Once done, the consumer

receives a summary of the order (including the cost of the food, each line-item fee, estimated tax,

and the Dasher’s tip, which the consumer can select). Near the bottom of the screen above the

“Place Order” button, a consumer can enter his or her payment methodology. As soon as the

“Place Order” button is touched, the screen shows the real delivery time which is different from

the advertised delivery time, and you can again click to view all details of the order or add items

to the order from another store. DoorDash then sends a series of text messages showing each

stage of the order until it is delivered. Consumers, including minors, receive these text messages

although proper consent is not obtained. See illustrations below.




                                                30
           Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 31 of 81



C.       Payment Methods

         53.     As for payment methods, DoorDash takes virtually all forms of electronic

payments. A consumer can add a credit card, Google or Apple Pay, Venmo, PayPal, gift cards, or

debit cards. As DoorDash knows, the wide range of payment methods makes it easy for minor

children to place and pay for orders on DoorDash given the proliferation of parent loaded debit

cards like Greenlight, and the ability to use gift cards. See illustration below.




         54.     The varying electronic payments methods do not vary the user experience on the

DoorDash platform. DoorDash maintains all consumer order information. The payment method

(credit or debit card number) provides insight into the type of consumer placing an order.

D.       The Functionality of DoorDash’s Technology

         55.     DoorDash’s operation relies on sophisticated engineering in everything it does. In

describing this work, DoorDash says it “is rapidly growing a logistics platform that enables

millions of orders a day globally, and none of it would be possible without our world-class

engineering team.” 29 DoorDash advertises its engineering as driving its “high impact projects




29
     DOORDASH ENGINEERING, https://doordash.engineering/ (last visited Apr. 14, 2023).

                                                  31
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 32 of 81



that power our velocity, reliability, and innovation.” 30 DoorDash even advises merchant

restaurants how to perform “menu engineering” with respect to their prices. 31

           56.   The heart of DoorDash’s engineering rests on proprietary algorithms. “At

DoorDash, route optimization is a key component of our dispatch system, known internally

as DeepRed. The routing algorithm design we chose—based on the ruin-and-recreate principle—

helped us to scale to meet the increased demand . . . .” 32 DoorDash says,

             Route optimization is a computationally intensive process . . . . Solving this
             problem for last-mile logistics introduces additional complexity because a
             multitude of orders must be delivered same-day under a range of
             constraints, including varying delivery windows, vehicle capacity, speed,
             and Dasher, our name for delivery drivers, availability. 33

“Fortunately, DoorDash’s team was able to quickly replace its manual, ops-driven solution with

a more automated one that could handle th[e] increased demand.” 34 In other words, DoorDash’s

system is subject to manipulation given the varying inputs underlying the algorithms.

           57.   Hidden in its website frequently asked questions, DoorDash discloses “[t]here is

not a standard delivery radius for merchants on DoorDash. The delivery radius is set by an

algorithm based on how many Dashers are in your area and consumer demand. Plus and




30
 Engineering Blog, DOORDASH ENGINEERING, https://doordash.engineering/blog/ (last visited
Apr. 14, 2023).
31
  Sara DeForest, How to Improve Your Restaurant Profit Margin, DOORDASH FOR MERCHANTS
(Feb. 23, 2023), https://get.doordash.com/en-us/blog/restaurant-profit-margin.
32
  Ben Katz, Scaling a routing algorithm using multithreading and ruin-and-recreate,
DOORDASH ENGINEERING (Nov. 30, 2021), https://doordash.engineering/2021/11/30/scaling-a-
routing-algorithm-using-multithreading-and-ruin-and-recreate/.
33
     Id.
34
     Id.

                                                   32
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 33 of 81



Premium members do get access to a larger delivery area than Basic, potentially reaching more

customers.” 35 In other words, DoorDash manipulates service areas based on algorithmic data.

       58.     Despite its optimization efforts, DoorDash’s “real-time delivery logistics system,

the environment, behavior of Dashers ([its] term for delivery drivers), and consumer demand

are highly volatile. Because small changes to the decision-making process of matching deliveries

to Dashers can cause a cascade of different assignment decisions, it is difficult to determine the

expected outcome of any algorithm iteration or product change. All of this makes it hard to

determine the impact of any change via offline sizing or analysis.” 36 In other words, DoorDash

cannot promise anything with respect to how or when a Dasher will make a delivery.

       59.     But DoorDash pays close attention to the “small changes to the decision-making

process,” especially for consumers. DoorDash closely studies consumer habits to determine the

best manner in which to “sell” them (some might say exploit them) on their habits. To this end,

DoorDash conducts consumer surveys 37 and even generates annual reports 38 providing detailed

analysis insight into key consumer habits. Upon information and belief, DoorDash “engineers”

its platform to optimize speed, efficiency, and consumer habits even at the sake of being

transparent, accurate, or legally compliant.



35
   Frequently Asked Questions, DOORDASH FOR MERCHANTS, https://get.doordash.com/en-us/faq
(last visited Apr. 14, 2023).
36
   Sifeng Lin & Yixin Tang, The 4 Principles DoorDash Used to Increase Its Logistics
Experiment Capacity by 1000%, DOORDASH ENGINEERING (Sept. 21, 2021),
https://doordash.engineering/2021/09/21/the-4-principles-doordash-used-to-increase-its-
logistics-experiment-capacity-by-1000/.
37
 Allison Van Duyne, 2022 Consumer Trends in the Restaurant Industry, DOORDASH FOR
MERCHANTS (May 23, 2022), https://get.doordash.com/en-us/blog/online-ordering-habits.
38
  2022 Restaurant Online Ordering Trends, DoorDash for Merchants, DOORDASH FOR
MERCHANTS (July 21, 2022), https://get.doordash.com/en-us/resources/restaurant-online-
ordering-trends.

                                                33
           Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 34 of 81



         III.     DOORDASH’S HISTORY OF UNSAVORY BUSINESS PRACTICES

          60.     When confronted with its misdeeds, DoorDash reverts to the corporate playbook

of emphasizing philanthropic efforts. In many respects, these efforts are contrived. For example,

when confronted with negative press over the strong-arm tactics DoorDash used on restaurants

during the pandemic, DoorDash naturally developed an advertising campaign that highlighted its

role helping restaurants survive during the pandemic, particularly restaurants owned by people of

color. 39 While DoorDash likes to play up its “good citizen” image, its history is far less rosy.

          61.     DoorDash’s history is replete with unsavory practices towards the drivers,

merchants, and consumers who use DoorDash’s technology. First, DoorDash improperly

retained Dashers’ tips. 40 The tipping policy also resulted in a class action against the company,

Arkin v. DoorDash, Inc., No. 1:2019-cv-04357 (E.D.N.Y. 2021). Ultimately, DoorDash changed

the policy and CEO Xu tweeted “The new model will ensure that Dashers’ earnings will increase

by the exact amount of customer tips on every order.” 41

          62.     DoorDash also earned money holding its Dashers’ and restaurants’ compensation

for a week, 42 forcing them to pay fees to receive their compensation daily. 43 DoorDash then

required its Dashers and restaurants to participate in programs designed to generate more income

for DoorDash if its Dashers and restaurants want their earned compensation daily without a




39
   See DoorDash, SOUTHSIDE MAGNOLIA, YOUTUBE (Oct. 26, 2020),
https://www.youtube.com/watch?v=Q42SPkzI3Dw; see also DoorDash, Soul of the City,
YOUTUBE (June 15, 2021), https://youtu.be/aCriukDwvI4.
40
     Supra ¶ 2.
41
  Andy Newman, DoorDash Changes Tipping Model After Uproar From Customers, N.Y.
TIMES (July 24, 2019), https://www.nytimes.com/2019/07/24/nyregion/doordash-tip-policy.html.
42
     Supra ¶ 2.
43
     Supra ¶ 2.

                                                  34
           Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 35 of 81



fee. 44 Frustrated with DoorDash’s approach, several states and municipalities have adopted

legislation to regulate how DoorDash charges restaurants. DoorDash’s fee structure has long

been controversial – so much so that, in 2021, the City of Chicago sued DoorDash claiming that

DoorDash was marking-up menu items and violating the City’s pandemic-related cap on food

delivery fees. Chicago also alleged that the imposition of a $1.50 “Chicago Fee” was an unlawful

attempt to circumvent the City’s delivery fee cap and confused consumers on which entity levied

and collected that fee.

          63.    DoorDash’s litigation history is far more extensive than the Chicago case.

DoorDash has been sued in multiple jurisdictions for alleged violations of the Fair Labor

Standards Act and various state equivalents, including recently in a case filed in the United

States District Court for the Middle District of Florida, Silva v. DoorDash, No. 6:23-cv-00104.

In such cases, DoorDash, to protect its contractor model, stresses it is not a delivery company.

DoorDash also has been subject to litigation for using the trade dress – names, logos, trademarks,

and other intellectual property – of various restaurants without permission. See Burger Antics v.

DoorDash, No. 18-cv-00133 (N.D. Ill) (alleging that DoorDash was publicizing a relationship

with the restaurant and delivering its food without permission). DoorDash has been sued because

its Dashers have injured people, including killing at least one person, while driving for DoorDash

and reading a DoorDash communication. 45 These unsavory business practices, however, pale in

comparison with DoorDash’s actions towards consumers, like Plaintiffs.




44
     Supra ¶ 2, 3.
45
  Emilie Raguso, Motorist who killed pedestrian was driving for DoorDash, lawsuit says,
BERKELEYSIDE (Aug. 31, 2021), https://www.berkeleyside.org/2021/08/31/motorist-killed-
pedestrian-berkeley-doordash-lawsuit.

                                                 35
           Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 36 of 81



     IV.      DOORDASH’S FRAUDULENT AND DECEPTIVE PRICING SCHEME

       64.     Plaintiffs, and other consumers, are victims of DoorDash’s deceptive, misleading,

and fraudulent pricing scheme.

A.     DoorDash Charges a Deceptive and Misleading Delivery Fee

       65.     DoorDash “is not in the delivery business, does not provide delivery services, and

is not a common carrier.” While disavowing it performs or provides deliveries, DoorDash still

charges a “Delivery Fee” on most orders. DoorDash explains this fee in different places. The

information icon next to the Delivery Fee merely states, “Delivery fee varies for each restaurant

based on your location and other factors.” In its webpage under customer support, DoorDash

defines Delivery fee as, “[t]his fee is charged on delivery orders and helps DoorDash cover costs

associated with getting your order directly to you and can vary depending on the merchant

location, and other factors, such as demand. Delivery fees currently can vary starting at $0.”

None of these statements affirmatively inform the consumer that DoorDash keeps the Delivery

Fee in total, and that fee is truly a revenue source under the platform. The illustration below

highlights certain aspects of DoorDash’s Delivery Fee.




                                                 36
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 37 of 81



       66.     In other words, DoorDash misleads consumers, like Plaintiffs, into believing the

Delivery Fee is based on their location and the restaurants’ location. DoorDash further deceives

consumers, like Plaintiffs, into believing the Delivery Fee “helps cover the cost associated with

getting your order directly to you.” DoorDash’s emphasis on delivery issues like the distance

(whether from the consumer’s or merchant’s location) and “getting the order” to the consumer

creates the logical impression that hardworking Dashers who perform the “deliveries” receive the

“Delivery” Fee. But that is not true. DoorDash keeps all delivery fees. In reality, the Delivery

Fee is part of a fraudulently engineered pricing scheme that fluidly moves around predetermined

revenue goals for orders through different categories of advertised fees. DoorDash manipulates

the Delivery Fee at its whim, even advertising $0 for some deliveries, to entice consumers to

continue using the platform while raising fees in other areas. There is no such thing as no

delivery fees. The Delivery Fee is nothing more than a deceitful sales gimmick that is part of a

fraudulent bait-and-switch pricing model. The true goal of the “Delivery” Fee is selling monthly

“DashPass” accounts because consumers pay DoorDash a flat monthly rate even if consumers do

not place a single order. The practical effect of the Delivery Fee is consumers are tricked into

believing they are paying for work performed by others and for discounts that never truly

materialize or stand contrary to DoorDash’s representations.

B.     DoorDash Charges a Deceptive and Misleading Express or Priority Delivery Fee

       67.     “Express” delivery on DoorDash purportedly represents a speed delivery option

that costs consumers, like Plaintiffs, $2.99 for orders to be delivered directly to them. Unlike

with its other fees, DoorDash provides no written description of what “Express” Delivery Fee or

“direct to you” means. This lack of explanation is intentional insomuch as DoorDash knows it

cannot make an affirmative representation on delivery times. So, DoorDash does the next best



                                                 37
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 38 of 81



thing, it leaves the impression that ordering “Express” means consumers will receive their orders

faster. To that end, DoorDash advertises “Express” delivery as having shorter delivery time

windows—always five to ten minutes shorter than a standard time window—and includes the

phrase “direct to you” under the charge. Then DoorDash identifies the “Express” delivery as a

“Priority Fee” when itemizing its charges during checkout. The illustration below includes

screenshots from DoorDash’s App, its agreement and chatrooms reflecting the discussion above.




       68.     As the above illustration reflects, only one reasonable view of the Express Fee

exists: if a consumer pays the fee, DoorDash will ensure that consumer will get their food

quicker. But that is not true. DoorDash has no ability to provide the express service it sells for

priority deliveries “direct to” consumers, like Plaintiffs. According to DoorDash, the company

neither provides deliveries nor controls the manner or means in which deliveries occur (as

represented in its independent contractor agreement with its drivers and in litigation against

them). Upon information and belief, DoorDash does not even tell its drivers when a consumer

places an Express Delivery or otherwise informs them that the order is a priority. In internet

chatrooms, even drivers discuss the misleading nature of the “Express” fee for deliveries direct



                                                 38
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 39 of 81



to you. 46 Nothing prevents a Dasher from stacking an Express order with other orders for

DoorDash or for another delivery company—taking more time rather than less and not delivering

“direct to you.” And the time windows DoorDash advertises for its express service as five to ten

minutes shorter are demonstrably false. Once an order is placed, within seconds or sooner,

DoorDash reveals the previously concealed true delivery time window from its dispatch system,

which is typically longer than the advertised “Express” window and even the standard window in

many cases. DoorDash has information that could inform the consumer the order will not be any

more express than usual, but DoorDash does not provide consumers with that information. Upon

information and belief, in furtherance of its fraud, DoorDash sets its advertised delivery windows

for all orders to appear shorter than true market conditions to avoid losing sales. Consumers

literally pay for nothing when selecting the option for Express Delivery, rendering irrelevant

whether DoorDash’s actually provided a faster delivery service on any isolated, individual order.

C.     DoorDash Charges a Deceptive and Misleading “Expanded Range” Delivery Fee

       69.     DoorDash charges consumers, like Plaintiffs, a fee to make “expanded range

deliveries.” DoorDash defines “expanded range delivery” to consumers as one in which the

“restaurant is outside of your normal delivery area.” But consumers do not have a “normal

delivery” area. DoorDash tells its merchants something far different. In advertising materials to

merchants, DoorDash defines the “delivery area” or “delivery radius” as a function of how much

money a restaurant is willing to pay. DoorDash says, “[e]ach store on DoorDash has a circular

delivery area extending out from their store. Any consumer within that delivery area will be able

to see and order from that store. DoorDash defines the delivery area for each individual store



46
 Doug H., Is Express Delivery on DoorDash worth it? Here’s what it really does, RIDESHARING
DRIVER (Aug. 10, 2022), https://www.ridesharingdriver.com/doordash-express-delivery/.

                                                39
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 40 of 81



based on their partnership structure on DoorDash.” 47 In other words, one restaurant, like a

Chick-fil-a, might be located closer to a consumer’s home, but DoorDash could assign deliveries

to that home to a different Chick-fil-a further away if that restaurant pays DoorDash more money

under its partnership structure for a larger delivery area. DoorDash then charges consumers more

for Delivery Fees and for out-of-range deliveries despite closer delivery options being available.

See the below illustration of how Expanded Range Delivery Fee works.




       70.     The illustration below reflects a test on the DoorDash platform under which

DoorDash will apply the Expanded Range Fee to a DashPass account while not applying that fee

to a standard account when placing the same order at the same time to the same restaurant for

delivery to the same home. If the Expanded Range Fee is premised on a set geographic delivery

area for a consumer, as DoorDash represents, that fee would be applied to both accounts equally.

But DoorDash likely applies the Expanded Range Fee to DashPass accounts on occasions to

recoup some of the discounts provided under that program.



47
 DoorDash Dasher Support, What is a “Delivery Radius” or a “Delivery Area” on DoorDash?,
DOORDASH, https://help.doordash.com/dashers/s/article/What-is-a-Delivery-Radius-or-a-
Delivery-Area-on-DoorDash?language=en_US (last visited Apr. 14, 2023).

                                                40
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 41 of 81




                             DashPass Account       Standard Account

       71.     As the above test case reveals, when ordering from a DashPass Account and a

Standard Account with the same order from the same restaurant at the same time to be delivered

to the same location, DoorDash makes numerous misrepresentations. DoorDash falsely tells the

DashPass account holder that the delivery fee of $2.99 is reduced to zero when in fact the

Delivery Fee is only $0.49 as reflected on the standard account. DoorDash reduces the service

fee on the DashPass which lowers the taxes, but DoorDash then assesses an Expanded Range Fee

on the DashPass account to recoup part of the discount. DoorDash falsely represents that the

DashPass holder saved $4.22 on this order when that holder really saved only $0.73.

       72.     Under another test of the DoorDash platform during a different time of day, when

ordering from the same restaurant at the same time with the same menu cost delivered to the

same location, DoorDash applied the Expanded Range Fee to a standard account but not the

DashPass account. DoorDash unilaterally decides where and how to apply the Expanded Range

Fee despite that fee supposedly being advertised as tied to a consumer’s normal delivery area. As

our test reveals, the delivery area has nothing to do with it. And DoorDash charged the standard

account ($7.99) more than twice the amount of the advertised delivery cost ($3.99) to the

DashPass account for the same order at the same time to the same place. Contrary to its

                                               41
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 42 of 81



representations, DoorDash simply makes up charges at its whim because consumers truly do not

know the standard amount since DoorDash misrepresents all its charges. See illustration below.




             Standard Account                                     DashPass Account

D.     DoorDash Charges Consumers Hidden Marketing Fees

       73.    DoorDash advertises menu item promotions that include hidden fees DoorDash

charges consumers without disclosing them (“Marketing Fees”). In describing this scheme,

DoorDash explains to merchant restaurants (but not to consumers like Plaintiffs):

          Menu item promotions are promotions that help you attract customers by
          using menu items in a couple of different ways to attract orders. Customers
          will discover your restaurant in the Offers Hub which helps surface the
          most relevant offers that they are most likely to choose. You can also
          choose to target this promotion to certain customers only based on certain
          factors. . . .

          Customers who qualify for the promotions will see them in the Offers Hub
          either based on the spend threshold or the items they have selected in their
          cart.

          You’ll pay for the item or discount offered to the customer as well as a
          $0.99 marketing fee to power our Offers Hub and marketing efforts to
          deliver the best customers that will order from you and return as well. 48



48
  DoorDash Merchant Support, Menu Item Promotions - Merchant Promotion Overview,
DOORDASH, https://help.doordash.com/merchants/s/article/Menu-Item-Promotions-Merchant-
Promotion-Overview?language=en_US (last visited Apr. 14, 2023).

                                                42
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 43 of 81



Unfortunately for consumers, the “You’ll pay” is truly the consumer, not the restaurant, since

this undisclosed fee is included in the menu price that is charged to and paid by consumers only.

Consumers pay for DoorDash’s undisclosed $0.99 Marketing Fee on promotional items without

ever knowing the hidden charge was included as part of a “promotion.” DoorDash applies this

fee in the same manner and in the same amount. See illustration below.




E.     DoorDash Charges Consumers Hidden Commission Fees

       74.     Embedded in every order that consumers place on DoorDash are undisclosed

“commissions,” which are truly nothing more than another hidden fee that consumers pay. These

commissions range from 20% to 29% on delivery orders and from 8% to 10% on pickup orders

(collectively “Commission Fee”). See illustration below.




                                               43
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 44 of 81




       75.     DoorDash explains to restaurants but not consumers, “[w]hen [a restaurant] list[s]

[its] business on DoorDash, [it] pay[s] a percentage of the order subtotal — known as a

“commission rate” — for each order processed through our platform.” 49 The commission

allegedly covers a range of contrived delivery and other costs, including undisclosed credit card

processing surcharges paid on consumer transactions at a rate of 2.9% plus $0.30 per transaction.

See illustration below.




       76.     Regardless how DoorDash frames the issue, DoorDash charges a Commission

Fee on each order that consumers pay and DoorDash collects and retains the payment without

ever informing the consumer, including payments for credit card surcharges in violation of 12

C.F.R. § 1026.9(d). This approach represents the essence of deception and fraud.

F.     DoorDash Makes Misleading and Manipulative Statements about its Fees

       77.     DoorDash’s explains its fees in a manner that furthers its deception, omitting

material facts about its billing practices. First, DoorDash uses small icons with a lower-case “i”


49
   Frequently Asked Questions, DOORDASH FOR MERCHANTS, https://get.doordash.com/en-us/faq
(last visited Apr. 14, 2023).

                                                44
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 45 of 81



enclosed in a circle to provide curt explanations of certain fees, but only if a consumer touches

the icon to access it. These explanations conceal and misrepresent not only the true nature of the

fees, but also the identity of who receives them. DoorDash places slightly different information

about its pricing and fees where consumers would not likely look for them, i.e., on its merchant

restaurant’s menu page. On that page, hidden near the top, underneath the restaurant’s logo and

bolded name and above larger bolded icons for pickup and delivery options, DoorDash places an

informational icon for pricing and fees in small grey font. When a consumer clicks on that icon,

DoorDash provides various explanations of its charges including which fees all “go to DoorDash

and help cover the costs of operating the DoorDash platform.” By strategically locating this

pricing and fee icon in the same place where hungry consumers are ordering food and where

menu items prominently display pricing information under them already, DoorDash limits the

likelihood consumers will see this information. Instead, consumers are more likely to see the

icons next to fees during the checkout process, and for Delivery Fees, that icon merely states,

“Delivery fee varies for each restaurant based on your location and other factors.” There is no

mention about DoorDash retaining the fee or it being part of the cost to operate the platform.

Thus, the location and contradictory content of the icons are deceptive. See illustration below.




                                                45
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 46 of 81



           78.   All delivery, marketing, and commission fees that DoorDash directly or indirectly

charges consumers, like Plaintiffs, are misleading, deceptive, and fraudulent. DoorDash creates

these misleading and hidden fees because DoorDash knows that consumers will stop using its

platform as the fees to use the platform that go directly to DoorDash increases. 50 And DoorDash,

encourages (even creating the ability for) restaurants to increase menu prices for delivery items

because that means more money for DoorDash, without consumers realizing that DoorDash is

responsible for the increased costs. 51

           79.   DoorDash creates the misperception that Dashers receive delivery fees for the

delivery services they perform when DoorDash retains the fees. Instead, DoorDash only gives

Dashers a “delivery offer,” which is a predetermined compensation package for each order that is

separate and apart and not identified on any consumer order. The offer is directed to a specific

Dasher who can accept or reject the offer, but the rejection comes with consequences as it may

interfere with future delivery offers. Dasher compensation principally consists of a base pay,

which DoorDash creates and advertises as ranging from $2 to $10 per trip, 52 but appears to

average around $3 per trip. DoorDash may also give a Dasher promotional pay for an order and

the driver might receive a tip. 53 None of these two forms of payment is guaranteed to be part of a

delivery offer. While DoorDash will reveal to Dashers the promotional pay included in its offer

before they accept that offer, DoorDash will conceal from Dashers whether the consumer tipped



50
  The impacts of price controls, DOORDASH (Apr. 8, 2021), https://doordash.news/company/the-
impacts-of-price-controls/amp/.
51
   Frequently Asked Questions, DOORDASH FOR MERCHANTS, https://get.doordash.com/en-us/faq
(last visited Apr. 14, 2023).
52
  DoorDash Dasher Support, How Dasher Pay Works, DOORDASH, https://help.doordash.com/
dashers/s/article/How-is-Dasher-pay-calculated?language=en_US (last visited Apr. 14, 2023).
53
     Id.

                                                 46
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 47 of 81



on an order until after the delivery is complete. DoorDash conceals the tip, so Dashers are more

likely to accept the payment offer. One of the most critical issues for Dashers is the lack of a

consumer tip. The tip represents a significant portion of Dasher’s compensation, making the

difference between a profitable or losing job. 54 But Dashers frequently receive no or little tip

because DoorDash misleads naïve consumers into believing Dashers (not DoorDash) receive the

range of delivery fees for deliveries that the Dashers (not DoorDash) perform. But Dashers have

little recourse for DoorDash’s actions given they waive crucial rights under their DoorDash

independent contractor agreement. And DoorDash mistakenly believes consumers are similarly

constrained by DoorDash’s Terms and Conditions.

                  V.      THE DOORDASH “TERMS AND CONDITIONS”

       80.     DoorDash does not require consumers, like Plaintiffs, to affirmatively

acknowledge the Terms and Conditions because DoorDash knows that reading those terms

(which, if enforceable, represent an unconscionable, contract of adhesion) would cause

consumers to reconsider using the platform.

       81.     As a threshold matter, in paragraph 2, the Terms and Conditions read,

          If you access any of our websites located at https://www.doordash.com/ . . .
          install or use the DoorDash or Caviar mobile application, install or use any
          other technology supplied by DoorDash (collectively, the “Technology”), or
          access or use any information, function, feature, or service made available
          or enabled by DoorDash (collectively, the “Services,” which includes the
          Technology), click or tap a button or take similar action to signify your
          affirmative acceptance of this Agreement, or complete the DoorDash
          account registration process, you, your heirs, assigns, and successors
          (collectively, “you” or “your”) hereby represent and warrant that: (a) you
          have read, understand, and agree to be bound by this Agreement and any




54
  For people using DoorDash and reading this complaint, please tip the Dashers. Tipping is how
they truly make their money.

                                                 47
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 48 of 81



                future amendments and additions to this Agreement as published from time
                to time at https://www.doordash.com/terms/ or through the Technology. . . 55

In other words, DoorDash only informs consumers in the Terms and Conditions that signing-up

to use DoorDash will contractually bind the consumer to various terms and forces them to make

certain acknowledgements the impact of which waives and limits important rights. DoorDash

does not even inform consumers when its Terms and Conditions change because DoorDash

believes consumers already agreed to future amendments of the Terms and Conditions. Upon

information and belief, DoorDash recently changed its terms and conditions to account for issues

raised in prior lawsuits about its deceptive billing practices.

          82.       To avoid liability for illegal acts, the Terms and Conditions assert strategic

acknowledgments, such as,

                You acknowledge and agree that DoorDash is not a merchant, retailer,
                restaurant, grocer, pharmacy, chemist, delivery service, or food preparation
                business, and has no responsibility or liability for the acts or omissions of
                any Merchant or any Contractor. Merchants are the retailers of the products
                or services offered through the Services. DoorDash is not in the delivery
                business, does not provide delivery services, and is not a common carrier.
                DoorDash provides the Services to facilitate the transmission of orders by
                Users to Merchants, including orders for pickup or delivery by Contractors
                and/or Merchants. 56

          83.       The Terms and Conditions provide quasi-indemnification language, stating:

                You are the sole authorized User of any account you create through the
                Services. You are solely and fully responsible for all activities that occur
                under your password or account. You agree that you shall monitor your
                account to prevent use by minors, and you will accept full responsibility for
                any unauthorized use of your password or your account. 57


55
  See Consumer Terms and Conditions – United States (Including Puerto Rico), DOORDASH ¶ 2
(Feb. 3, 2023), https://help.doordash.com/legal/document?type=cx-terms-and-
conditions&region=US&locale=en-US.
56
     Id. ¶ 6(a).
57
     Id. ¶ 7.

                                                     48
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 49 of 81



Specific indemnification language is included in paragraph 18 of the Terms and Conditions in

which DoorDash seeks consumers to indemnify DoorDash for all claims and expenses.

          84.      Paragraph 14 of the Terms and Conditions (which has twelve subparts) is a forum

selection provision that purports to require that all claims arising out of the terms and conditions

be subject to arbitration; that purports to waive a jury trial; that purports to ban public injunctive

relief; and that purports to ban class action lawsuits.

          85.      The Terms and Conditions also incorporate an attempted Limitation of Liability,

that purportedly caps DoorDash’s liability at “the greater of amounts actually paid by and/or due

from you to DoorDash in the six (6) month period immediately preceding the event giving rise to

such claim” and to exclude “any indirect, punitive, special, exemplary, incidental, consequential

or other damages of any type or kind . . . .”). 58

          86.      DoorDash’s Terms and Conditions are a contract of adhesion. The Terms and

Conditions are a form or standardized contract that is entirely prepared and offered by DoorDash

and entirely for its benefit. DoorDash created its Terms and Conditions with disproportionate

bargaining power over consumers, like Plaintiffs, who could not, cannot, and did not negotiate

any terms let alone understand them. Rather, DoorDash presents its Terms and Conditions on a

take-it-or-leave-it basis. Under this approach, consumers only obtain DoorDash’s services by

acquiescing to the form contract.

                 VI.   DOORDASH TARGETS MINORS AND KNOWS MINORS
                         FREQUENTLY USE DOORDASH’S SERVICE

          87.      In its Terms and Conditions, DoorDash says that any consumer who uses its

technology “represents and warrants” that s/he is “of legal age in the jurisdiction in which you



58
     Id. ¶ 21.

                                                     49
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 50 of 81



reside to form a binding contract with DoorDash.” 59 DoorDash’s terms purport to hold parents

responsible for minors who use their parents’ account. 60 While disavowing any contract with

minors, DoorDash does nothing to prevent minors from accessing its technology. Certainly,

DoorDash has the technology to verify consumers’ age as it presently does for alcohol sales. But

DoorDash simply refuses to employ that technology when consumers sign-up to use its platform,

despite knowing that a significant percentage of its 32 million users are minor children. Likely,

millions of minors use the DoorDash platform. See illustration of DoorDash’s alcohol use policy.




           88.   In the Apple Store, DoorDash allowed its app to be rated for ages twelve and up.

See illustration below.




59
     Id. ¶ 2.
60
     Id.

                                                 50
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 51 of 81



       89.     In the Google store, there is no age limit for the app. DoorDash allowed its app to

be rated E for everyone. See illustration below.




       90.     DoorDash does not require any age verification to register to use its platform,

despite having and using age verification technology in the sales process for alcohol. Nor does

DoorDash use any parental control on either its app or its website. Nor does DoorDash require a

credit card for transactions, which would limit minors from ordering. Instead, DoorDash allows

debit cards, preloaded debit cards (like Greenlight cards), and even gift cards, all of which are

payment methods that minors use frequently. Indeed, during a podcast, Jonathan Levin, Dean of

Stanford Graduate School of Business, told Tony Xu, a DoorDash co-founder and its Chief

Executive Officer, that Levin’s 13-year-old son wanted to trade his Nike and Amazon birthday

gift cards for DoorDash gift cards. 61 And DoorDash knows that if a parent has ever given a

credit card to a child for any online purchase, that information is saved on the minor’s

mobile/online pay account, making it accessible for any minor who establishes their own

DoorDash account with basic information and a cellular telephone and/or an email address.




61
 Stanford Graduate School of Business, Tony Xu, MBA ’13, Cofounder and CEO, DoorDash,
YOUTUBE (starting at 30 second mark) (Feb. 12, 2021), https://www.youtube.com/
watch?v=5TidMV_ux_4.

                                                   51
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 52 of 81



       91.     DoorDash also advertises to minors, including a Sesame Street-themed television

ad campaign that aired during the 2021 Super Bowl. See illustration below. 62




DoorDash reportedly paid $5.5 million for its Sesame Street commercial and only committed to

contributing up to $1 million to Sesame Workshop. It cannot seriously be argued, therefore, that

a Sesame Street-themed advertising campaign is not a campaign directed at children.

       92.     In its Privacy Policy, DoorDash tacitly admits children under 18 use its delivery

app. DoorDash says, “[o]ur Services are not intended for children under 16 years of age, and we

do not knowingly collect personal information from children under the age of 16.” 63 At a

minimum, the statement implies that DoorDash’s services are intended for 16 and 17 year olds

who have not reached the age of majority or possess the capacity to contract.

       93.     DoorDash cannot credibly contend it does not know minor children use its

service. Kids commonly have cellular phones, which is truly all that is necessary to use

DoorDash. According to a Stanford Medicine study, “nearly all children had phones by age 15




62
 Funny Commercials, DoorDash Super Bowl Commercial 2021 Daveed Diggs Sesame Street,
YOUTUBE (Feb. 7, 2021), https://youtu.be/RWViEadCvuM.
63
  Consumer Terms and Conditions – United States (Including Puerto Rico), DOORDASH (Feb. 3,
2023), https://help.doordash.com/legal/document?type=cx-terms-and-conditions&region=
US&locale=en-US.

                                               52
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 53 of 81



years.” 64 Tellingly, DoorDash deliveries (and those of other web-based services) are becoming

disruptive at schools—particularly high schools—across the country, raising security concerns

and administrative nightmares. Many school districts have addressed DoorDash deliveries in

schools with some banning and some allowing such deliveries, including school districts in New

Jersey, Massachusetts, Kansas, California, and Maryland to name a few. 65 Dashers even talk

about these problem deliveries in chat rooms. 66 One article compared DoorDash’s penetration

into schools to the cult-classic movie, Fast Times at Ridgemont High. 67 But this is no laughing

matter. With each such delivery, another child falls victim to DoorDash’s illegal practices.


64
  Erin Digitale, Age that kids acquire mobile phones not linked to well-being, says Stanford
Medicine Study, STANFORD MEDICINE NEWS CENTER (Nov. 21, 2022), https://med.stanford.edu/
news/all-news/2022/11/children-mobile-phone-age.html.
65
   Beccah Hendrickson, South Jersey students ordering food to high school causing security
issues, district says, 6ABC (Feb. 1, 2022), https://6abc.com/west-deptford-school-district-food-
delivery-safety-doordash-uber-eats/11530002/; Brittany Polito, Pittsfield School Policy Panel
Considers Student DoorDash Ban, IBERKSHIRES.COM (Mar. 3, 2023, 12:29 PM),
https://www.iberkshires.com/story/71088/Pittsfield-School-Policy-Panel-Considers-Student-
DoorDash-Ban.html; Katie Kausch, Students can get DoorDash deliveries. Just follow the
security rules, N.J. school says., NJ.COM (Feb. 3, 2022, 9:44 AM, updated Feb. 16, 2023, 1:11
AM), https://www.nj.com/gloucester-county/2022/02/students-can-get-doordash-deliveries-just-
follow-the-security-rules-nj-school-says.html; Audrey Menzies, Principal, students contemplate
Doordash deliveries to the school, KC PIPER NEWS (Sept. 9, 2019),
https://www.kcpipernews.com/18459/feature/principal-and-students-contemplate-doordash-
deliveries-to-the-school/; Jonathan Sarabia, Parents debate over the safety of delivering food to
students in school, KION NEWS CHANNEL 5/46 (Nov. 30, 2021, 11:52 AM),
https://kion546.com/news/monterey-county/2021/11/30/parents-debate-over-the-safety-of-
delivering-food-to-students-in-school/; Elaine S. Povich, Students, bored by cafeteria fare, love
food delivery services; schools don’t., WASH. POST (June 9, 2019, 8:30 AM),
https://www.washingtonpost.com/health/students-bored-by-cafeteria-fare-love-food-delivery-
services-schools-dont/2019/06/07/2568d12c-8617-11e9-98c1-e945ae5db8fb_story.html.
66
   Why are (some) schools telling students that they cannot order food deliveries through
DoorDash, GrubHub or UberEats, to be delivered to their schools?, QUORA (June 6, 2019),
https://www.quora.com/Why-are-some-schools-telling-students-that-they-cannot-order-food-
deliveries-through-DoorDash-GrubHub-or-UberEats-to-be-delivered-to-their-schools.
67
   Mustafa Gatollari, High School Students DoorDash Lunch to School, Get Sent to Admin’s
Office in Viral TikTok, DISTRACTIFY (Jan. 30, 2023, 12:06 PM EST),
https://www.distractify.com/p/students-doordash-food-to-school.

                                                53
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 54 of 81



Despite having technology to handle almost two billion orders annually (including orders for

alcohol), DoorDash does absolutely nothing to verify the age of its users.

                   VII.   THE TRUTH ABOUT DOORDASH’S SCHEME

       94.     DoorDash is committing a massive fraud. DoorDash presents its predatory pricing

scheme to consumers like Plaintiffs in a uniform manner. Regardless of the device used (Android

or Apple) or the platform accessed (app or website), each consumer signs-up with DoorDash in

the same basic manner and is exposed to the same deficient language about the impact of

signing-up. In this respect, DoorDash treats all consumers the same, failing to provide them with

a definitive offer with sufficient consideration or with proper inquiry notice or otherwise allow

them to manifest their assent to a contract when registering to use the DoorDash platform. Each

consumer, like each Plaintiff, interacts with DoorDash in the same manner and is subjected to the

same fraudulent scheme that DoorDash advances with the same deceitful representations. In the

end, consumers, like Plaintiffs, are injured in the same way by incurring monetary damages,

which can be calculated based on information from DoorDash’s records.

       95.     Under its fraudulent scheme, DoorDash misrepresents that it is collecting delivery

fees for Dashers for their delivery services when in fact DoorDash is collecting fees for itself that

have nothing to do with deliveries. In making these misrepresentations, DoorDash makes a wide

range of others about charges for the speed and distance of deliveries. And then DoorDash hides

Marketing and Commission Fees in menu items that consumers unwittingly pay and DoorDash

collects. The Commission Fee includes surcharges not only on credit card transactions, but also

on debit and pre-paid debit card transactions in violation of applicable laws. DoorDash’s

predatory practices in effect steals consumers’ hard-earned money and their precious choice to

make informed decisions when using technology to order in the on-demand delivery market.



                                                 54
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 55 of 81



       96.     Adding to its deception, without providing any true inquiry notice, and avoiding

clickwrap agreements used with merchants and drivers, DoorDash allows consumers to register

in a manner that draws no meaningful attention to its Terms and Conditions. DoorDash then uses

its Terms and Conditions to try to force unknowing consumers into strategic acknowledgements,

while DoorDash “discloses” bits and pieces of its fraudulent conduct. DoorDash buries these

feigned “disclosures” in pages of complex legalese, knowing consumers are unlikely to see them,

to preserve the argument that no fraud exists given these limited, eclectic, inconspicuous

“disclosures.” DoorDash knows that even if a lay consumer could find the misleading, partial

disclosures, consumers could not understand them, or piece the entire scheme together. To that

end, DoorDash sates:

       (a) Prices & Charges. You understand that: (i) the prices for menu or other items
       displayed through the Services may differ from the prices offered or published by
       Merchants for the same menu or other items and/or from prices available at third-
       party websites and that such prices may not be the lowest prices at which the
       menu or other items are sold and may change at any time without notice; (ii)
       DoorDash has no obligation to itemize its costs, profits, or margins when
       publishing such prices; and (iii) pricing may change at any time, in the discretion
       of DoorDash or the Merchant (depending on which party sets the given price). . . .

       (b) Strikethrough Pricing (United States Orders). This Section 12(b) applies to
       United States Orders. DoorDash may use strikethrough pricing for certain items
       (for example, when presenting a discount or promotional price for items).
       DoorDash does not represent that the strikethrough price was the regular or
       former price of items for any particular period of time and the time period may
       vary widely depending on the items. DoorDash may also rely on Merchants or a
       third party to provide information about the regular or former price of items
       offered by those Merchants or a third party, and DoorDash’s strikethrough price
       therefore may represent the price that DoorDash, a Merchant, or a third party
       offered the item for sale for some period of time. The strikethrough price may
       also be an introductory price that was offered for a short period of time. Unless
       otherwise specified, the strikethrough price represents a non-member discount to
       the extent the Merchant has a membership program. . . .

       (e) Fees for Services. DoorDash may change the fees that DoorDash charges you
       as we deem necessary or appropriate for our business, including but not limited to
       Delivery Fees, Service Fees, Small Order Fees, Expanded Range Fees, Regulatory

                                                55
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 56 of 81



           Response Fees, and Surge Fees. DoorDash may offer different pricing to
           customers based on a variety of factors, including but not limited to geographic
           areas or usage. DoorDash may also charge you additional fees as required by law.
           Further, DoorDash may charge Merchants fees on orders that you place through
           the Services, including commissions and other fees, and may change those
           Merchant fees as we deem necessary or appropriate for our business or to comply
           with applicable law. DoorDash may charge you a Service Fee for the convenience
           of ordering through the DoorDash platform. 68

DoorDash’s purported “contractual” Terms and Conditions are truly nothing more than an

instrumentality of, or a part of the means for, accomplishing the fraud perpetuated on consumers.

           97.    Relying on its Terms and Conditions to shield it from exposure and to bless its

dubious approach, DoorDash engages in deceit. DoorDash uses strikethrough pricing (where an

original price is struck and replaced with a lower price) when advertising both menu items and

its fees. This approach is effectively a bait-and-switch sales gimmick because DoorDash moves

the costs from one category of fee to another and consumers never truly know the standard

pricing. Forgoing prominent, informational tabs with full and appropriate disclosures, DoorDash

hides from consumers its concession that “DoorDash does not represent that the strikethrough

price was the regular or former price of items for any particular period of time” and that its menu

pricing “may not be the lowest prices at which the menu or other items are sold and may change

at any time without notice.” 69 Instead, DoorDash’s promotes “informational” tabs with

contradictory and misleading explanations that dissuade the consumer from searching further.

And then DoorDash advertises delivery windows that mislead hungry consumers, who have all

the attendant physical and psychological symptoms (including impacted decision making) that

accompany hunger, into believing that DoorDash will delivery in a time that DoorDash already


68
  See Consumer Terms and Conditions – United States (Including Puerto Rico), DOORDASH ¶
12(e) (Feb. 3, 2023), https://help.doordash.com/legal/document?type=cx-terms-and-
conditions&region=US&locale=en-US.
69
     Id.

                                                  56
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 57 of 81



knows it cannot meet. With these artifices in place, DoorDash unilaterally applies to orders the

Delivery Fee, and Expanded Range Fee, and allows consumers to purchase the Express option

for yet another fee, leaving the impression drivers are making deliveries further and faster and

incurring charges along the way. But these fungible fees have nothing to do with delivery

drivers. DoorDash invented them and retains them in total. Similarly, DoorDash also retains a

Marketing Fee that DoorDash hides in promotional items and a Commission Fee that DoorDash

hides in all menu items without ever informing consumers that they are paying these fees. In the

end, DoorDash’s deceit generates billions in annual revenue using tactics that manipulate, trick,

deceive, and/or induce consumers, like Plaintiffs, into using DoorDash not only at a much higher

and premium price, but also without receiving the true benefit of their bargain. In other words,

consumers hold the risk and fund the cost of DoorDash’s fraudulent game of ‘Catch Me If You

Can.’ Plaintiffs now sue to recover their damages from DoorDash’s predatory pricing practices.

       98.     This case raises two fundamental questions: (1) whether DoorDash’s wrap

agreement creates a contract between DoorDash and consumers, including the consumers’

waiver of important rights without ever expressly acknowledging such waiver; 70 and (2) if its

wrap agreement can create a contract between DoorDash and consumers, whether, such a

contract is effective against minor consumers. These fundamental questions are asserted on

behalf of a potential class of millions of consumers nationwide and tens, if not hundreds, of

thousands in Maryland alone. Each individual fell victim to DoorDash’s common, fraudulent,

and deceptive scheme of assessing fees it charges without providing basic contract elements

(including sufficient notice) that the Terms and Conditions create a binding contract.


70
  Plaintiffs submit it cannot. See generally Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1176
(9th Cir. 2014) (describing browsewrap agreements as those that allow users to continue to use a
website without ever visiting the page that hosts the browsewrap agreement).

                                                57
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 58 of 81



       99.     Plaintiffs seek to recover these damages for themselves and a class of similarly

situated individuals who paid: (1) any and all delivery fees of any kind to DoorDash as

DoorDash’s records will establish; (2) hidden marketing fees on promotional items as

DoorDash’s records similarly will establish; and/or (3) any and all hidden commissions or

commission fees that DoorDash included in or took from menu items advertised to and paid by

consumers using the DoorDash platform, which also will be reflected in DoorDash’s records.

                               CLASS ACTION ALLEGATIONS

       100.    Plaintiffs bring this action on their own behalf and as a class action on behalf of

the similarly situated class members as defined herein. This action is maintainable as a class

action pursuant to Fed. R. Civ. P. 23(a), (b)(2), and (b)(3). The class consists of tens or hundreds

of thousands, if not millions, of DoorDash users who were inappropriately and illegally charged

fees as part of the DoorDash scheme.

       101.    Specifically, Plaintiffs bring this suit on behalf of the following Class: All persons

in the United States who, within the relevant statute of limitations periods, established a

DoorDash account and placed an order using either the DoorDash app or the website

DoorDash.com and who paid a “Delivery Fee,” an “Express (or Priority) Delivery Fee,” and/or

an “Extended Range Delivery Fee” and/or who purchased a promotional menu item that included

a hidden “Marketing Fee” and/or who purchased a menu item that included a hidden

“Commission Fee” and/or who paid any combination of these fees (“the Nationwide Class”).

       102.    Plaintiff Hecox, individually and/or as next of friend for his minor child R.E.H.

who is a party to this case, and Plaintiff R. Hecox who just reached age of majority, also bring

this suit on behalf of the following Subclasses:




                                                   58
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 59 of 81



               a.     All parents and/or guardians in the United States who, within the relevant

statute of limitations periods, established a DoorDash account and whose minor child or children

placed an order from that account using either the DoorDash app or the website DoorDash.com

and who paid a “Delivery Fee,” an “Express Delivery Fee” and/or an “Extended Range Delivery

Fee” and/or who purchased a promotional menu item that included a hidden “Marketing Fee”

and/or who purchased a menu item that included a hidden “Commission Fee” and/or who paid

any combination of these fees (the “Nationwide Parents Class”).

               b.     All minors in the United States who, within the relevant statute of

limitations periods, established a DoorDash account and who placed an order from that account

using either the DoorDash app or the website DoorDash.com and who paid a “Delivery Fee,” an

“Express Delivery Fee” and/or an “Extended Range Delivery Fee” and/or who purchased a

promotional menu item that included a hidden “Marketing Fee” and/or who purchased a menu

item that included a hidden “Commission Fee” and/or who paid any combination of these fees

(the “Nationwide Minor Class”).

               c.     All persons resident in the State of Maryland who, within the relevant

statute of limitations periods, established a DoorDash account and placed an order using either

the DoorDash app or the website DoorDash.com and who paid a “Delivery Fee,” an “Express

Delivery Fee” and/or an “Extended Range Delivery Fee” and/or who purchased a promotional

menu item that included a hidden “Marketing Fee” and/or who purchased a menu item that

included a hidden “Commission Fee” and/or who paid any combination of these fees (the

“Maryland Class”).

               d.     All parents and/or guardians resident in the State of Maryland who, within

the relevant statute of limitations periods, established a DoorDash account and whose minor



                                               59
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 60 of 81



child or children placed an order from that account using either the DoorDash app or the website

DoorDash.com and who paid a “Delivery Fee,” an “Express Delivery Fee” and/or an “Extended

Range Delivery Fee” and/or who purchased a promotional menu item that included a hidden

“Marketing Fee” and/or who purchased a menu item that included a hidden “Commission Fee”

and/or who paid any combination of these fees (the “Maryland Parents Class”).

               e.      All minors resident in the State of Maryland who, within the relevant

statute of limitations periods, established a DoorDash account and who place an order from that

account using either the DoorDash app or the website DoorDash.com and who paid a “Delivery

Fee,” an “Express Delivery Fee” and/or an “Extended Range Delivery Fee” and/or who

purchased a promotional menu item that included a hidden “Marketing Fee” and/or who

purchased a menu item that included a hidden “Commission Fee” and/or who paid any

combination of these fees (the “Maryland Minor Class”).

       103.    DoorDash subjected Plaintiffs (including the Nationwide Class, Nationwide

Parents Class, Nationwide Minor Class, Maryland Class, Maryland Parents Class, Maryland

Minor Class) (collectively “Plaintiffs”) to the same wrongdoing and harmed them in the same

manner. Plaintiffs seek to enforce the same rights and remedies pursuant to the same legal

theories including: declaratory relief, injunctive relief, fraud (intentional misrepresentation or

deceit), negligent misrepresentation, and a violation of the Maryland Consumer Protection Act

[Md. §13-301 Unfair or deceptive trade practices].

       104.     Numerosity: The proposed Class and Subclasses are so numerous that joinder of

all members is impracticable. While the precise number and identities of class members are

unknown at this time, targeted discovery will provide the information.




                                                 60
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 61 of 81



       105.     Typicality: The claims of Plaintiffs are typical of the claims of the Class and

Subclasses because the claims arise from the same event or practice or course of conduct.

Plaintiffs are advancing legal theories applicable to the Class and Subclasses. And, Plaintiffs’

measure of damages is the same as the measure of damages applicable to the Class and

Subclasses.

       106.    Adequacy: Plaintiffs and their counsel will fairly and adequately represent and

protect the interest of the Class and Subclasses. Plaintiffs’ counsel have considerable and

substantial experience in prosecuting and defending complex litigation, including class actions.

Plaintiffs and Plaintiffs’ counsel intend to vigorously pursue this litigation on behalf of

themselves and the Class and Subclasses and have the financial resources to do so. Neither

Plaintiffs nor Plaintiffs’ counsel have any interests adverse to the interests of the Class and

Subclasses.

       107.    Superiority of Class Action: Plaintiffs have suffered the same harm because of

DoorDash’s unlawful conduct, and the same claims and defenses are at issue for all Plaintiffs. A

class action is superior to other methods for the fair and efficient adjudication of the controversy.

Joinder of individual members of the Class and Subclasses is impractical, inefficient, and unduly

burdensome on the individual members. By employing a class action vehicle, a single court can

adjudicate the issues resulting in both judicial economy and the fair and equitable handling of all

class claims. And a class action conserves the parties’ resources and protects the rights of the

Class and Subclasses. Were these claims to be adjudicated individually, as a practical matter, the

individual adjudications would be dispositive of the interests of other members not parties to the

adjudication and could substantially impair and impede the ability of the other members of the

Class and Subclasses to protect their interests.



                                                   61
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 62 of 81



       108.    Common Questions of Law and Fact Predominate: To further satisfy the

requirements of Fed. R. Civ. P. 23, there are questions of law and fact common to Plaintiffs’

claims and the claims of the Class and Subclasses that predominate over any question of law or

fact that relates to any individual member of the Class or Subclasses. Common questions of law

and fact include, without limitation, at least:

   x   Whether DoorDash properly and appropriately informed Plaintiffs about the Terms and
       Conditions when they signed up for the DoorDash service, including:

           o Whether DoorDash made a definitive offer supported by consideration.

           o Whether by signing up for DoorDash a consumer had the requisite intent or assent
             to contract with DoorDash that, among other things, purported to require the
             arbitration of any disputes and to impose a limit on the type and amount of
             damages that could be recovered.

           o If a contract was formed, whether the arbitration clause is severable from the rest
             of the contract and whether it is supported by sufficient consideration.

           o If a contract is formed, whether the arbitration agreement is a contract of
             adhesion.

           o If a contract was formed, whether minor Plaintiffs have disavowed or disaffirmed
             the contract.

   x   Whether DoorDash made false representations of material fact.

   x   Whether DoorDash knew or should have known that its representations of material fact
       were false.

   x   Whether DoorDash represented material fact with such reckless disregard for the truth
       that knowledge of the falsity can be imputed to DoorDash.

   x   Whether DoorDash falsely represented material fact with the purpose of defrauding or
       deceiving consumers.

   x   Whether Plaintiffs justifiably relied or had a presumption of reliance on DoorDash’s false
       representations of material fact given the true nature of DoorDash’s false representation
       was not determinable through the exercise of ordinary intelligence or diligence.

   x   Whether Plaintiffs suffered actual damages because of their justifiable or presumed
       reliance on DoorDash’s false representations of material fact.

   x   Whether DoorDash owed a duty of care and/or candor to Plaintiffs as a matter of law.
                                                  62
     Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 63 of 81



x   Whether DoorDash, in breach of its duty of care and/or candor to Plaintiffs, negligently
    made false representations of material fact.

x   Whether DoorDash, in breach of its duty of care and/or candor to Plaintiffs, negligently
    made false representations of material fact with the intention that Plaintiffs would rely
    upon and act in response to the false representations.

x   Whether DoorDash knew or should have known that Plaintiffs would rely on DoorDash’s
    false representations of material fact.

x   Whether Plaintiffs justifiably relied or had a presumption of reliance on and acted in
    response to DoorDash’s false representations of material fact.

x   Whether Plaintiffs suffered damages proximately caused by DoorDash’s negligence.

x   Whether DoorDash, in adopting, promoting, and/or charging its Express Delivery Fee,
    misrepresented material facts to consumers, like Plaintiffs, including the fact that:

       o DoorDash knew or should have known it had no ability to control the manner or
         means of how or when Dashers performed their deliveries;

       o DoorDash knew or should have known that “direct to you” advertisement is
         misleading;

       o DoorDash knew or should have known that Dashers can stack orders;

       o DoorDash knew or should have known that Dashers did not know whether a
         consumer had paid for an express delivery;

       o DoorDash knew or should have known that as soon as a consumer chose an
         expedited delivery, the time for the delivery would be extended beyond the range
         for a standard delivery; and

       o DoorDash knew or should have known that the pre-order delivery windows were
         misleading and likely to entice consumers, like Plaintiffs, into placing orders.

x   Whether DoorDash, in adopting, promoting, and/or charging its Delivery Fee,
    misrepresented material facts to consumers, like Plaintiffs, including the fact that:

       o Dashers did not receive the Delivery Fee for their deliveries and that DoorDash
         retained the Delivery Fee completely;

       o DoorDash knew or should have known that its advertising tactics regarding
         discounts on the Delivery Fee were misleading;

       o DoorDash knew or should have known the Delivery Fee had nothing to do with
         the delivery of orders for consumers, like Plaintiffs, but instead related to the
         alleged cost to operate DoorDash’s technology;

                                             63
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 64 of 81



           o DoorDash knew or should have known the Delivery Fee was an advertising sales
             gimmick; and

           o DoorDash knew or should have known that the pre-order delivery windows were
             misleading and enticed consumers, like Plaintiffs, into placing orders.

   x   Whether DoorDash, in adopting, promoting, and/or charging its Extended Range
       Delivery Fee, misrepresented material facts to consumers, like Plaintiffs, including the
       fact that:

           o DoorDash knew or should have known that consumers like Plaintiffs did not have
             normal delivery areas;

           o DoorDash knew or should have known that they created delivery areas based on
             its merchants’ paid relationship with DoorDash without regard to closer delivery
             locations for consumers, like Plaintiffs, based on their location;

           o DoorDash concealed a material fact from Plaintiffs that DoorDash charges the
             Extended Range Fee as a manner of increasing profit independent of Plaintiffs’
             normal delivery area; and

           o DoorDash knew or should have known that the pre-order delivery windows were
             misleading and enticed consumers, like Plaintiffs, into placing orders.

   x   Whether DoorDash, in adopting, promoting, and/or charging its Marketing Fee,
       misrepresented material facts to consumers, like Plaintiffs, including the fact that:

           o DoorDash knew or should have known that consumers, like Plaintiffs, could not
             discover the hidden Marketing Fee through the exercise of ordinary diligence or
             intelligence;

           o DoorDash knew or should have known that consumers, like Plaintiffs, paid for
             promotional items for which they incurred and paid an unknown $0.99 that
             DoorDash collected; and

           o DoorDash knew or should have known that the pre-order delivery windows were
             misleading and enticed consumers, like Plaintiffs, into placing orders.

       109.    Notice: There are myriad methods for providing notice to the Class and

Subclasses including internet publication, utilization of social media, and traditional published

notice – all of which would be paid by DoorDash.

       110.    The Class and Subclasses specifically exclude counsel, including counsels’

employees, representing the Class and Subclasses, any judicial officer presiding over this matter,


                                                64
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 65 of 81



the members of the judicial officers’ immediate families and judicial staff, and any individual

whose interests are antagonistic to the interests of other Class and Subclass members.

                     CLAIMS FOR RELIEF AND CAUSES OF ACTION

        111.    Based on all the allegations herein, Plaintiff respectfully demands relief under the

following nine causes of action.

                                   FIRST CLAIM FOR RELIEF
                 (DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF)

        112.    Plaintiffs reassert, reallege, and incorporate herein the allegations set out in

paragraphs 1 through 111 and assert the following cause of action.

        113.    Pursuant to Fed. R. Civ. P. 23(b)(2), Class-wide declaratory judgment and

injunctive relief is appropriate because DoorDash has acted or refused to act on grounds that

apply generally to all the Plaintiffs.

        114.    More specifically, DoorDash has adopted a fee structure for its delivery services

that is misleading and induces consumers to act to their detriment.

        115.    DoorDash’s method of giving consumers, including minor consumers, notice of

the Terms and Conditions that DoorDash will likely argue apply in this case was inadequate to

secure the consent of any consumer and, therefore, there is no contract between DoorDash and

any consumer.

        116.    DoorDash’s wrap agreement did not require or allow consumers, including minor

consumers, to manifest assent to the terms and conditions expressly, consequently, there is no

contractual relationship between DoorDash on the one hand and Plaintiffs, the Class, and

Subclasses on the other. Instead, consumers were able to continue using the DoorDash platform

without visiting the page hosting the wrap agreement or even having knowledge or notice of its

existence. Here, Plaintiffs did not know of the Terms and Conditions.

                                                  65
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 66 of 81



        117.    This claim for declaratory judgment seeks a determination that (a) this action may

proceed as a class action; (b) there is no contract between DoorDash and Plaintiffs, the Class,

and Subclasses; (c) Plaintiffs are entitled to recover for their injuries incurred because of

DoorDash’s misleading fee structure; (d) Plaintiffs are entitled to an award of attorneys’ fees and

expenses to be determined by the Court; and (e) such other and further relief as is necessary and

appropriate, including the relief outlined in paragraph 119 below.

        118.    The Court must determine this issue of contract formation in which Plaintiffs for

themselves and their classes, challenge both DoorDash’s purported contract and its purported

arbitration agreement. In trying to remove important determinations from the Court’s purview

contrary to applicable law, DoorDash’s Terms and Conditions refer to delegating issues of

“formation of this Arbitration Agreement” to the arbitrator, “including, but not limited to, any

claim that all or any part of this Arbitration Agreement is void or voidable[.]” 71 In doing so, the

arbitration agreement conflates issues of contract formation with issues of contract rescission

rendering the delegation language ambiguous and thus unenforceable, in addition to contrary to

applicable law. In seeking declaratory relief, Plaintiffs will need limited, targeted discovery on

issues relating to formation including but not limited to changes DoorDash made to its

signup/registration page over last three years and changes DoorDash has made to its terms and

conditions over last three years.

        119.    To remedy the injuries that DoorDash’s misleading fee structure has caused,

Plaintiffs are entitled to at least the following injunctive relief:




71
  Consumer Terms and Conditions – United States (Including Puerto Rico), DOORDASH ¶ 14(d)
(Feb. 3, 2023), https://help.doordash.com/legal/document?type=cx-terms-and-
conditions&region=US&locale=en-US.

                                                   66
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 67 of 81



               i.         A declaration that DoorDash adopt an open and straightforward fee

       structure so that consumers will understand what they are paying for and how their fees

       are distributed and allocated; and

              ii.         A declaration that DoorDash cease and desist from its misleading and

       fraudulent practices by charging or advertising delivery fees in any form when it does not

       deliver.

                                   SECOND CLAIM FOR RELIEF
               (DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. § 2201
              THAT THE ARBITRATION AGREEMENT IS UNENFORCEABLE)

       120.     Plaintiffs reassert, reallege, and incorporate herein the allegations set out in

paragraphs 1 through 119 and assert the following cause of action.

       121.     In the event a court determines that a contract was formed when a consumer,

including a minor consumer, signed-up and used DoorDash’s services, declaratory relief is still

necessary and appropriate.

       122.         Arbitration clauses are severable from the whole of the contract in which they are

contained. 72 To be enforceable, arbitration clauses require consideration independent of any

consideration for the remainder of the Terms and Conditions. 73

       123.     In this case, the consideration for the arbitration agreement is illusory because

DoorDash reserves the right to modify the terms and conditions at any time. So, in paragraph


72
  See generally Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 70-71 (2010) (“[A]s a matter of
‘substantive federal arbitration law, an arbitration provision is severable from the remainder of
the contract.’”) (citations omitted). See also Coady v. Nationwide Motor Sales Corp., 32 F.4th
288, 291 (4th Cir. 2022) (“[A]n arbitration provision is an ‘independently enforceable contract’
that is a ‘severable part’ of the larger agreement.”).
73
  See generally Jones v. Prosper Marketplace, Inc., No. GJH-21-893, 2022 WL 834210, at *12
(D. Md. March 21, 2022) (“To be binding and enforceable, contracts ordinarily require
consideration.”).

                                                    67
           Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 68 of 81



14(h), DoorDash says that “updates to these Terms and Conditions do not provide a new

opportunity to opt out of the Arbitration Agreement for customers or Users who had previously

agreed to a version of [these] Terms and Conditions. . . .” Thus, DoorDash retained the right to

unilaterally change the terms and conditions without affording a subsequent opt-out right. As a

result, the consideration is illusory. 74

         124.   Alternatively, in paragraph 3 of the Terms and Conditions, DoorDash “reserves

the right to modify the terms and conditions of this Agreement . . . at any time. . . .” Because the

modification agreement was contained within the same Terms and Conditions as the arbitration

agreement, there was insufficient consideration to support an enforceable agreement to

arbitrate. 75

         125.   Given the lack of consideration, the arbitration provision is unenforceable to

Plaintiffs.

         126.   This claim for declaratory judgment seeks a determination that (a) this action may

proceed as a class action; (b) there is no enforceable arbitration agreement between DoorDash

and the Plaintiffs; (c) Plaintiffs are entitled to recover for their injuries incurred because of

DoorDash’s misleading fee structure; (d) Plaintiffs are entitled to an award of attorneys’ fees and

expenses to be determined by the Court; (e) such other and further relief as is necessary and

appropriate, including the relief outlined in paragraph 127 below.



74
   Id. at *13 (“[O]ne party’s unilateral right to amend an agreement at any time can constitute an
‘illusory promise’”) (citations omitted).
75
   See generally Caire v. Conifer Value Based Care, LLC, 982 F. Supp. 2d 582, 594 (D. Md.
2013) (where one party reserves the right to alter the arbitration clause there is “’no real promise
at all.’”) (citations omitted). See also Coady v. Nationwide Motor Sales Corp., No. 20-cv-1142-
SAG, 2020 WL 6785352, at *5 (D. Md. Nov. 18, 2020) (where the arbitration provision and
authority to change the terms and conditions are within the same document, a court can
determine there is no consideration for the agreement to arbitrate).

                                                  68
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 69 of 81



        127.     To remedy the injuries that DoorDash’s misleading fee structure has caused,

Plaintiffs are entitled to at least the following injunctive relief:

                i.      A declaration that DoorDash adopt an open and straightforward fee

        structure so that consumers will understand what they are paying for and how their fees

        are distributed and allocated; and

               ii.      A declaration that DoorDash cease and desist from its misleading and

        fraudulent practices including advertising or assessing any delivery fee when DoorDash

        does not perform delivery services.

                                   THIRD CLAIM FOR RELIEF
     (DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. § 2201 THAT THE
  ARBITRATION PROVISION IS AN UNENFORCEABLE CONTRACT OF ADHESION)

        128.     Plaintiffs reassert, reallege, and incorporate herein the allegations set out in

paragraphs 1 through 127 and assert the following cause of action.

        129.     In the event a court determines that a contract was formed when a consumer,

including a minor consumer, signed-up and used DoorDash’s services, and in the event a court

determines that the consideration for the arbitration provision in the contract is sufficient,

declaratory relief is still necessary and appropriate.

        130.     The arbitration provision contains a waiver of significant rights including the right

to a trial by jury, the right to bring an action as a class action, and the right to seek injunctive

relief. It also imposes a drastically reduced statute of limitations.




                                                   69
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 70 of 81



          131.    The arbitration provision is itself a contract of adhesion in that was “drafted

unilaterally by the dominant party and then presented on a take-it-or-leave-it basis to the weaker

party who has no real opportunity to bargain about its terms.” 76

          132.    A court can decline to enforce an arbitration provision that is “so one-sided as to

oppress or unfairly surprise an innocent party” or when “there exists an egregious imbalance in

the obligations and rights imposed by the arbitration clause.” 77

          133.    The arbitration provision at issue is as one-sided as a contract provision could be.

DoorDash receives protection from a jury, shelter from important kinds of relief, and a shield

against collective claims. The consumers get nothing in return.

          134.    This claim for declaratory judgment seeks a determination that (a) this action may

proceed as a class action; (b) the arbitration provision is a contract of adhesion; (c) the arbitration

provision is null and void; (d) Plaintiffs are entitled to recover for their injuries incurred because

of DoorDash’s misleading fee structure; (e) Plaintiffs are entitled to an award of attorneys’ fees

and expenses to be determined by the Court; and (f) such other and further relief as is necessary

and appropriate, including the relief outlined in paragraph 135 below.

          135.    To remedy the injuries that DoorDash’s misleading fee structure has caused,

Plaintiffs are entitled to at least the following injunctive relief:

                 i.       A declaration that DoorDash adopt an open and straightforward fee

          structure so that consumers will understand what they are paying for and how their fees

          are distributed and allocated; and




76
 Mbongo v. Robinhood Markets, Inc., No. 714, 2022 WL 621797, at *4 (Md. Ct. of Spec. App.
March 3, 2022).
77
     Id. (citations omitted).

                                                   70
           Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 71 of 81



              ii.       A declaration that DoorDash cease and desist from its misleading and

       fraudulent practices including advertising or assessing any delivery fee when DoorDash

       does not perform delivery services.

                                FOURTH CLAIM FOR RELIEF
   (DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. § 2201 THAT THE ENTIRE
       TERMS AND CONDITIONS ARE UNENFORCEABLE AGAINST MINORS)

       136.     Plaintiffs reassert, reallege, and incorporate herein the allegations set out in

paragraphs 1 through 135 and assert the following cause of action.

       137.     Under the law of the State of Maryland, as well as the law of other United States

jurisdictions, minors have the right to disaffirm contracts such as those at issue here and a parent

or guardian can disaffirm a contract on behalf of a minor.

       138.     Plaintiffs, on behalf of any minor whose interests they represent, hereby disaffirm

any contract that a court may determine to have existed between Plaintiffs and DoorDash.

       139.     The contracts between Plaintiffs and DoorDash on the other are void ab initio (or

alternatively void or voidable) to the extent that any minor was the person who established or

used a DoorDash account given their lack of contractual capacity and given DoorDash’s own

specified disaffirmance of any contract with minors or allowing them to use its technology or

service.

       140.     There exists, therefore, an actual controversy between the parties requiring a

declaratory judgment.

       141.     This claim for declaratory judgment seeks a determination that (a) this action may

proceed as a class action; (b) the contracts between DoorDash and minor children are void ab

initio (or alternatively void or voidable at the option of the minor children or their parents or

guardians); (c ) the minor children or their parents or guardians have effectively voided or


                                                  71
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 72 of 81



otherwise disaffirmed the contracts by filing this lawsuit; (d) the minor children or their parents

or guardians are entitled to restitution and interest thereon; (e) Plaintiffs are entitled to an award

of attorneys’ fees and expenses to be determined by the Court; and (f) such other and further

relief as is necessary and appropriate.

       142.    Alternatively, this claim for declaratory judgment seeks a determination that (a)

the arbitration clause is severable from the other Terms and Conditions; (b) the arbitration clause

is unenforceable against the minor consumers; (c ) Plaintiffs are entitled to all appropriate

damages; (d) Plaintiffs are entitled to an award of attorneys’ fees and expenses to be determined

by the Court; and (e) such other and further relief as is necessary and appropriate.

                             FIFTH CLAIM FOR RELIEF
                                  (FRAUD OR DECEIT)

       143.     Plaintiffs reassert, reallege, and incorporate herein the allegations set out in

paragraphs 1 through 142 and assert the following cause of action.

       144.    DoorDash made false representations or omissions of material fact to Plaintiffs,

including but not limited to: DoorDash drivers would be paid delivery fees for making deliveries;

DoorDash had the ability to control the time and manner of a consumer’s delivery; an express

order would be delivered directly to the consumer; drivers knew when orders were priority and

direct to you; the Extended Range Fees arose from consumers’ locations and applied to all

consumers equally; advertised delivery windows represented true estimates of the prospective

delivery time; advertised discounts represented actual discounts; each delivery fee was logically

derived and not an unjustifiable advertisement or phantom charge passed back to the consumer

by increasing a different charge/fee; promotional items did not include hidden fees that

consumers paid; DashPass members received savings that were misleadingly stated; and menu

items did not include commissions and fees including surcharges on credit card payments.

                                                  72
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 73 of 81



       145.         DoorDash made false representations and omissions during each instance

consumers, like Plaintiffs, placed an order on the DoorDash website or the DoorDash app and

DoorDash advertised, charged and/or collected a Delivery Fee, an Express Fee, an Extended

Range Fee, a Marketing Fee and/or a Commission Fee from consumers, like Plaintiffs, on their

respective order.

       146.         Among the false representations and omissions, in addition to those in paragraph

143, that DoorDash made include, at least, the following:

                i.         DoorDash, in adopting, promoting, and/or charging its Express Delivery

       Fee, knew or should have known that it had no ability to control the manner or means of

       how or when Dashers performed their deliveries;

               ii.         DoorDash knew or should have known that “direct to you” as used for the

       Express Delivery Fee advertisements was not only misleading but patently false because

       DoorDash knew Dashers could stack orders, Dashers did not know that a consumer had

       paid a direct delivery fee, and the delivery time would actually exceed that for a standard

       delivery;

              iii.         The inference that the Express Delivery Fee was for the Dashers;

              iv.          The Delivery Fee had nothing to do with the delivery of orders for

       consumers but instead related to the cost to operate the DoorDash technology;

               v.          DoorDash knew or should have known the Express Delivery Fee was

       simply an advertising gimmick and not a real effort to get orders to consumers sooner;

              vi.          DoorDash established the Extended Range Delivery Fee but knew or

       should have known consumers did not have “normal delivery areas;”




                                                    73
 Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 74 of 81



    vii.       DoorDash, in assessing the Extended Range Delivery Fee, knew or should

have known the delivery fee was based on the restaurants’ paid relationships with

DoorDash and had nothing to do with the location of the consumer;

   viii.       DoorDash concealed that DoorDash charges the Extended Range Fee as a

means of increasing profit;

     ix.       DoorDash knew or should have known the delivery windows it promised

were illusory and merely intended to entice consumers into placing orders;

     x.        DoorDash incorporated a “marketing fee” into the charges to consumers,

knowing that consumers, in the exercise of ordinary diligence, could not discover the

hidden fee;

     xi.       DoorDash knew or should have known that consumers were paying for

promotional items through payment of a $0.99 marketing fee that was undisclosed and

that misled consumers to believe they were getting something for free or at a reduced

price;

    xii.       DoorDash knew or should have known that it charged and collected from

consumers commission fees that it did not disclose and surreptitiously included in the

price of menu items;

   xiii.       DoorDash knew or should have known that the commission fees included

credit card surcharges that it did not disclose and surreptitiously included in the price of

menu items; and

   xiv.        DoorDash knew or should have known that it provided misleading and

false pricing and savings without disclosing such information to consumers.




                                         74
          Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 75 of 81



        147.    DoorDash knew, and had actual knowledge, that the representations it made to

Plaintiffs were false.

        148.    Alternatively, DoorDash acted with reckless disregard of the truth of its

representations to Plaintiffs such that it would be reasonable to charge DoorDash with the falsity

of its representations.

        149.    DoorDash intended that Plaintiffs would act in reliance on DoorDash’s false

representations.

        150.    Plaintiffs relied on DoorDash’s false presentations and Plaintiffs’ reliance was

justified and justifiable.

        151.    As a direct and proximate result of DoorDash’s fraudulent misrepresentations,

Plaintiffs sustained damages.

        152.    DoorDash acted with malice in making false representations and Plaintiffs are

therefore entitled to recover punitive damages.

                                  SIXTH CLAIM FOR RELIEF
                                (FRAUDULENT CONCEALMENT)

        153.    Plaintiffs reassert, reallege, and incorporate herein the allegations set out in

paragraphs 1 through 152 and assert the following cause of action.

        154.    DoorDash took affirmative action to conceal a material fact that Plaintiffs could

not have discovered even with the exercise of reasonable diligence. 78

        155.    DoorDash had a duty to disclose material facts because DoorDash’s concealment

of the facts underlying its express and extended range charges was intentional and effective.




78
 Rhee v. Highland Development Corp., 182 Md. App. 516, 958 A.2d 385, 390 (Md. Ct. Special
App. 2008).

                                                  75
            Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 76 of 81



DoorDash hid material facts with “the attained object of creating or continuing a false impression

as to that fact. Its “affirmative suppression of the truth” was made with an “intent to deceive.” 79

           156.   DoorDash also had a duty to disclose material facts when DoorDash tried to

obfuscate and confuse consumers with psychologically manipulative pricing structure to conceal

the real nature of the charges. 80

           157.   DoorDash failed to disclose materials facts, including (a) that it was charging an

express fee with the representation the order would be directly delivery to the consumer when

DoorDash had no ability to control the time or manner of deliveries: (b) that it was charging an

express fee with the representation the order would be delivered faster than the predicted order

time for a non-express order when, in fact, the express delivery frequently took longer to be

received; and (c) that DoorDash had no factual basis for imposing the extended range delivery

fee.

           158.   DoorDash intended to defraud or deceive Plaintiffs.

           159.   Plaintiffs took actions, namely using DoorDash’s express service, in justifiable

reliance on DoorDash’s concealment.

           160.   As a direct and proximate result of DoorDash’s fraudulent concealment, Plaintiffs

sustained damages.

           161.   Further, DoorDash acted with malice in failing to disclose material facts and

Plaintiffs are therefore entitled to recover punitive damages.




79
     Id.
80
     Lloyd v. Gen’l Motors Corp., 397 Md. 108, 916 A.2d 257, 275, n.11 (Md. App. 2007).

                                                   76
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 77 of 81



                                SEVENTH CLAIM FOR RELIEF
                             (NEGLIGENT MISREPRESENTATION)

        162.    Plaintiffs reassert, reallege, and incorporate herein the allegations set out in

paragraphs 1 through 161 and assert the following cause of action. DoorDash owed a legal and

statutory duty of care to Plaintiffs, including but not limited to a duty of care arising out of its

role as an entity that directly or indirectly sold and/or marketed goods and services to Plaintiffs.

        163.    In this case, Plaintiffs were wholly dependent on DoorDash and Plaintiffs were

not sophisticated users operating on an equal playing field with DoorDash.

        164.    DoorDash negligently made false statements of material fact about its delivery

and service fees.

        165.    DoorDash intended that Plaintiffs would act in reliance upon the false statements

of material fact referenced in paragraph 144 to 147.

        166.    DoorDash knew or should have known that Plaintiffs would rely on the false

statements of material fact referenced in paragraph 144 to 147.

        167.    Plaintiffs justifiably acted in reliance on the false statements of material fact

referenced in paragraph 143 to 146.

        168.    As a direct and proximate result of DoorDash’s negligent misrepresentation,

Plaintiffs sustained damages.

        169.    Further, DoorDash acted with malice in making its misrepresentations and

Plaintiffs are therefore entitled to recover punitive damages.

                                 EIGHTH CLAIM FOR RELIEF
                                     (UNJUST ENRICHMENT)

        170.    Plaintiffs reassert, reallege, and incorporate herein the allegations set out in

paragraphs 1 through 169 and assert the following cause of action. DoorDash owed a legal and


                                                  77
           Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 78 of 81



statutory duty to Plaintiffs to not unfairly or unduly take advantage of them or to commit

wrongful acts to enrich itself at Plaintiffs’ expense.

         171.   Plaintiffs conferred a benefit on DoorDash by placing orders for the delivery of

food from merchants and paying for the delivery of food by Dashers.

         172.   DoorDash knew and/or appreciated the benefit that Plaintiffs conferred.

         173.   DoorDash accepted or retained the benefit under circumstances that would be

inequitable to allow DoorDash to retain the benefit without the paying of value in return. 81

         174.   As a direct and proximate result of DoorDash’s unjust enrichment, Plaintiffs

sustained damages.

                                  NINTH CLAIM FOR RELIEF
            (VIOLATION OF THE MARYLAND CONSUMER PROTECTION ACT)

         175.   Plaintiffs reassert, reallege, and incorporate herein the allegations set out in

paragraphs 1 through 174 and assert the following cause of action.

         176.   Plaintiffs are consumers under the Maryland Consumer Protection Act, Md. Code

Ann. Com. Law. §13-101, et seq. in that they are actual or perspective purchasers, lessees, or

recipients of consumer goods, consumer services, consumer realty, or consumer credit. See Md.

Code Ann. Com. Law. §13-101(c)(1).

         177.   DoorDash is a merchant under the Maryland Consumer Protection Act, Md. Code

Ann. Com. Law. §13-101, et seq. in that it directly or indirectly either offers or makes available

to consumers any consumer goods, consumer services, consumer realty, or consumer credit. See

Md. Code Ann. Com. Law. §13-101(g)(1).




81
     Jackson v. 2019 Brandywine, LLC, 180 Md. App. 535, 952 A.2d 304 (2008).

                                                  78
           Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 79 of 81



          178.   DoorDash has engaged in unfair, abusive, or deceptive trade practices in violation

of the Maryland Consumer Protection Act.

          179.   Specifically, DoorDash has made false statements which have the capacity,

tendency, or effect of deceiving or misleading consumers. See Md. Code Ann. Com. Law. §13-

301(1).

          180.   In addition, DoorDash – in violation of the Maryland Consumer Protection Act –

has failed to state a material fact and its failure to state a material fact deceives or tends to

deceive consumers. See Md. Code Ann. Com. Law. §13-301(3).

          181.   And in violation of the Maryland Consumer Protection Act, DoorDash has

engaged in deception, fraud, false pretense, false premise, misrepresentation, or knowing

concealment, suppression, or omission of any material fact with the intent that a consumer rely

on the same with the promotion or sale of any consumer goods, consumer realty, or consumer

service. See Md. Code Ann. Com. Law. §13-303(9)(i).

          182.   As a direct and proximate result of DoorDash’s violation of the Maryland

Consumer Protection Act, Plaintiffs sustained damages.

                                       PRAYER FOR RELIEF
          WHEREFORE, Plaintiffs, the Class, and Subclasses DEMAND

          A.     A jury trial on all issues so triable;

          B.     Award Plaintiffs such preliminary injunctive and ancillary relief as may be

necessary to avert the likelihood of consumer injury during the pendency of this action and to

preserve the possibility of effective final relief, including but not limited to, temporary and

preliminary injunctions, and an order freezing assets;

          C.     Enter a permanent injunction to prevent DoorDash from engaging in future

fraudulent or misleading pricing practices and violations of Maryland Consumer Protection Act,

                                                    79
         Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 80 of 81



including but not limited to prohibiting DoorDash from advertising or collecting any delivery fee

whatsoever of any kind unless such fee is collected for and paid to delivery drivers and

prohibiting DoorDash from advertising and collecting any hidden marketing fee;

       D.      Award such relief, including monetary damages consistent with the law, as the

Court finds necessary to redress injury to consumers like Plaintiffs resulting from Defendants’

deceptive and fraudulent actions, including but not limited to, rescission or reformation of

contracts, restitution, the refund of monies paid, and the disgorgement of ill-gotten monies; and

       E.      Award Plaintiff the costs of bringing this action together with attorneys’ fees, as

well as such other and additional relief as the Court may determine to be just and proper.

On this 14th day of April, 2023.                Respectfully submitted:

                                                /s/ Thomas R. Bundy III
                                                Thomas R. Bundy III
                                                Federal Bar No. 15265
                                                LAWRENCE & BUNDY LLC
                                                8115 Maple Lawn Boulevard
                                                Suite 275
                                                Fulton, MD 20789
                                                Telephone:    (240) 500-3595
                                                Facsimile:    (240) 657-1109
                                                Thomas.Bundy@lawrencebundy.com

                                                Leslie J. Bryan
                                                (Pro hac vice To be submitted)
                                                LAWRENCE & BUNDY LLC
                                                1180 West Peachtree Street, NW
                                                Suite 1650
                                                Atlanta, Georgia 30309
                                                Telephone:     (404) 400-3350
                                                Facsimile:     (404) 609-2504
                                                Leslie.Bryan@lawrencebundy.com

                                                Andrew D. Herman
                                                (Pro hac vice To be submitted)
                                                LAWRENCE & BUNDY LLC
                                                1775 Pennsylvania Ave., NW
                                                Suite 650

                                                80
Case 1:23-cv-01006-JRR Document 1 Filed 04/14/23 Page 81 of 81



                              Washington, D.C. 20006
                              Telephone:   (202) 350-3397
                              Andrew.Herman@lawrencebundy.com

                              Counsel for Plaintiffs




                              81
